Case 1:24-cv-00055-MAD-CFH Document 173-1 Filed 04/18/24 Page 1 of 84




                      EXHIBIT "A"
       Case 1:24-cv-00055-MAD-CFH Document 173-1 Filed 04/18/24 Page 2 of 84




                                              MEMORANDUM




Date:              April 15, 2024

To:                Paul A. Levine, Esq, as Receiver for Prime Capital Ventures, LLC

From:              BST & Co. CPAs, LLP

Re:                Compass-Charlotte 1031, LLC v. Prime Capital Ventures, LLC., et al.




Scope


BST & Co. CPAs, LLP ("BST") was retained to provide forensic accounting services as it relates to assessing
potential claims with respect to the Defendants at issue in the litigation matter referenced above.
Specifically, BST was retained to perform a forensic accounting tracing interest credit account ("ICA")
deposits and disbursements from various bank accounts for the following entities: Prime Capital Ventures,
LLC, Berone Capital Fund, LP, Berone Capital Partners LLC, Berone Capital LLC, Berone Capital Equity Fund
I, LP and 405 Motor Sports LLC. Additionally, as part of the third-party complaint, BST was asked to perform
a forensic accounting of the deposits and disbursements from various bank accounts for the following
Third-Party Defendant entities: Kris D. Roglieri, Tina M. Roglieri, Prime Commercial Lending, LLC and
Commercial Capital Training Group.1




BST Procedures


The procedures we performed in arriving at our conclusions were as follows:

      1.   Analyzed bank statements, wire transfer information, deposit information in order to identify and
           trace ICA deposits from various entities and individuals;
      2.   Traced funds to and from related entities;
      3.   Researched individuals, vendors and/or entities for additional information identified from bank
           statement transactions;
      4.   Located additional potential ICA deposits;
      5.   Reviewed and analyzed banks statements to identify unknown bank accounts;
      6.   Reviewed bank statements to quantify potential large personal expenditures.




1 Kimberly A. Humphrey, a/k/a Kimmy Humphrey, The Finance Marketing Group, National Alliance of Commercial
Loan Brokers LLC and FUPME, LLC are also Defendants in the third-party complaint. Should we receive banking
information for these entities, we may be asked to perform a forensic accounting for these bank accounts.
      Case 1:24-cv-00055-MAD-CFH Document 173-1 Filed 04/18/24 Page 3 of 84



 FINDINGS


          ICA Deposits Identified


          We reviewed the Verified Third-Party Complaint and Prime Capital Ventures, LLC
                                                                                         ("PCV") wire
          transfer information from Farmers Bank to ascertain the total number of ICA deposits to
                                                                                                              date and
          determine how much was paid back to the third-party borrowers. See Schedule
                                                                                                       1.    A total of
          approximately $99,340,492 in ICA deposits were initially identified wherein approximat
                                                                                                 ely
          $24,307,178 was returned to third-party borrowers.

         Subsequently, we reviewed and analyzed the PCV KeyBank account x2233 and the
                                                                                                        PCV Citibank
         account x6945 to ascertain potential additional ICA deposits and payments made
                                                                                                    to and from the
         various Defendant entities. See Schedule 2. A total of approximately $83,662,632 in
                                                                                              potential
         additional ICA deposits were identified wherein approximately $33,328,750 was returned
                                                                                                to the
         third-party borrowers2

         PCV KeyBank Account x2233

         We reviewed and analyzed the PCV KeyBank statements for account x2233 for the
                                                                                                       period March
         1, 2022, through December 31, 2023. Findings for this account are as follows (See Schedule
                                                                                                                  4 for
         a complete summary):

         Internal Transfers

         The internal transfers to (credit) and from (debit) the PCV Keybank account x2233 are
                                                                                                            as follows:

                  TRANSACTION DESCRIPTION                         TOTAL DEBIT                 TOTAL CREDIT
          BERONE CAPITAL FUND LP3                                                                  1,865,000.00
          TINA AND KRIS ROGLIERI x58374                                   25,100.00
          TINA AND KRIS ROGLIERI x28485                               6,502,683.93                   750,000.00
          PRIME COMMERCIAL LENDING X44656                             5,511,415.00                      9,500.00
          COMMERCIAL CAPITAL TRAINING X45417                          5,087,625.70                   288,000.00
          PRIME CAPITAL VENTURES X00958
                                                                                                   4,300,000.00
          PRIME CAPITAL VENTURES X69459                               4,991,000.00               18,155,704.93


                                                             $       22,117,824.63        $      25,368,204.93



2More documentation is needed to verify these are all ICA deposits. It is our understanding that
                                                                                                 the Receiver is
investigating these deposits.
3 The $1,865,000.00 was traced from the Berone Capital Fund Keybank account xOOll.
4 The $25,100.00 was transferred to Tina and Kris Roglieri joint Keybank account x5837.
5 A total of approximately $6,502,684 was transferred to and $750,000 transferred from Tina
                                                                                              and Kris Roglieri
Keybank account x2848.
6 A total of $5,511,415 was transferred to and $9,500 transferred from Prime Commercial Lending
                                                                                                   Keybank account
X4465.
7 A total of approximately $5,087,626 was transferred to and $288,000 transferred from Commercial
                                                                                                      Capital
Training Group Keybank account x4541.
8 The $4,300,000 was traced from Prime Capital Ventures Interactive Broker account ending x0095.
9 $4,991,000 was traced to and approximately $18,155,705 was traced from the PCV Citi account
                                                                                               x6945.
      Case 1:24-cv-00055-MAD-CFH Document 173-1 Filed 04/18/24 Page 4 of 84



          Unknown Transfers to/from PCV Keybank x2233

          BST identified unknown bank account transactions and withdrawals that we were
                                                                                            unable to trace
          to any of the accounts we were provided statements for. It is our understanding that
                                                                                               the Receiver
          has subpoenaed this information. A total of approximately $3,884,334 went into unknown
                                                                                                      bank
          accounts.


                  TRANSACTION DESCRIPTION                          TOTAL DEBIT                  TOTAL CREDIT
          TRANSFERS TO FARMERS STATE BANK                                 140,000.00
         TRANSFER TO PDA X0768                                            193,200.00
         TRANSFER TO / FROM PDA X2134                                     594,750.00                  104,000.00
         TRANSFERS TO/FROM PRIME CAPITAL
         VENTURES10                                                            600.00               8,421,207.28
         TRANSFERS TO ROYAL BANK OF CA LOAN
          PMT                                                              57,000.00
         WITHDRAWAL                                                    2,898,784.02



                                                              $        3,884,334.02         $       8,525,207.28



         Personal Expenditures to and from PCV Keybank x2233


         The total large transactions that were identified as personal expenditures were approximat
                                                                                                   ely
         $3,469,173 as follows:

                 TRANSACTION DESCRIPTION                            TOTAL DEBIT                 TOTAL CREDIT
         LUXURY - PRIVATE JETS I CHARTERED
         PLANES11                                                         556,812.00
         LUXURY -PURCHASES12                                              275,950.99
         LUXURY -WATCHES13                                              1,180,110.00
         POTENTIAL AUTOMOTIVE EXPENSE14                                 1,456,299.89                  778,364.62


                                                             $          3,469,172.88        $         778,364.62



         Unknown Disbursements and Deposits

         We have identified other transactions within this account wherein we need additional
                                                                                                          supporting
         information to determine        whether they are         ICA deposits and/or payments or personal




10 We were not able to trace the credits or debits to the Prime Capital Ventures statements
                                                                                            we currently have.
11 These payments were made to XO Global LLC.
12 These payments were for lSTDIBS.com and they consisted of expenditures for antiques,
                                                                                        jewelry, fashion and art.
13 The $1,180,110 were payments for Luxury Bazaar, Timepiece Trading and Wrist Aficionado.
14 The potential automotive payments were made to Al Design, Hunter Motor Sport, Renntech
                                                                                                 Inc, Rockland Auto
and Superior Auto. There was a credit of approximately $778,365 from RM Auctions
                                                                                     Inc.
      Case 1:24-cv-00055-MAD-CFH Document 173-1 Filed 04/18/24 Page 5 of 84



         expenditures. It is our understanding that the Receiver has sent subpoenas to various parties for
         the documentation. See Schedule 3

         PCV Citibank Account x6945

         We reviewed and analyzed the PCV Citibank statements for account x6945 for the period
         September 1, 2022, through December 31, 2023.            Findings for this account are as follows (See
         Schedule 5 for a complete summary):

         Internal Transfers

         The internal transfers to and from the PCV Citibank account x6945 are as follows:


                 TRANSACTION DESCRIPTION                          TOTAL DEBIT                TOTAL CREDIT
         INTERACTIVE BROKERS LLC15                                     5,600,000.00
         PRIME CAPITAL VENTURES - KEYBANK X2233                      18,155,704.93               4,991,000.00
         PRIME COMMERCIAL LENDING- KEYBANK
         X4465                                                           121,478.00



                                                              $      23,877,182.93       $       4,991,000.00



         Unknown Transfers to/from PCV Citibank x6945

         BST identified unknown bank account transactions and withdrawals that we were unable to trace
         to any of the accounts we were provided statements for. It is our understanding that the Receiver
         has subpoenaed this information from various parties. A total of approximately $42,385,746 went
         into unknown bank accounts (see chart below).


         There is a transfer of $20,000,000.00 to Berone Capital Fund LP Signature Bank account x3581 on
         October 24, 2022. On October 26, 2022, a deposit of $20,000,000.00 was made into Berone
         Capital Fund LP RBC account xOOll.16




15 The $5,600,000 is traced to PCV Interactive Broker account x0095.
16 It is our understanding the Receiver has requested the Signature bank statements from the FDIC.
Case 1:24-cv-00055-MAD-CFH Document 173-1 Filed 04/18/24 Page 6 of 84



          TRANSACTION DESCRIPTION                     TOTAL DEBIT              TOTAL CREDIT
    BANK OF CALIFORNIA                                      157,953.08

    BANK OF STOCKTON                                         87,867.63

    BERONE CAPITAL FUND LP                               20,000,000.00
    PRIME CAPITAL ADVENTURES LLC -
    UNSPECIFIED                                                                     500,000.00
    PRIME CAPITAL VENTURES - HEADE
    PORATION TRUST CENTER                                 5,040,000.00             5,040,000.00
    PRIME CAPITAL VENTURES - HEADE
    PORATION TRUST CENTER                                                           999,950.00
    PRIME CAPITAL VENTURES - OPERA
    CORPORATION TRUST CENTER CITI X6953                  12,049,925.00
    PRIME CAPITAL VENTURES - OPERA NULL
    CORPORATION TRUST CENTER CITI X6953                                           7,371,988.00
    PRIME CAPITAL VENTURES - SHORE
    UNITED BANK X6661                                        50,000.00
    PRIME CAPITAL VENTURES - WELLS
    FARGO X1058                                           5,000,000.00



                                                  $      42,385,745.71     $     13,911,938.00



  Personal Expenditures to and from PCV Citibank x6945

  The total large transactions that were identified as personal expenditures were approximately
 $15,542,761 as follows:

         TRANSACTION DESCRIPTION                      TOTAL DEBIT              TOTAL CREDIT
   LUXURY - PRIVATE JETS / CHARTERED
   PLANES                                                    278,320.00
   LUXURY -WATCHES                                         2,593,000.00             125,000.00
   POTENTIAL AUTOMOTIVE EXPENSE                           12,671,441.47               21,001.02



                                                 $        15,542,761.47    $        146,001.02



 Unknown Disbursements and Deposits

 We have identified other transactions within this account wherein we need additional supporting
 information to   determine   whether they are       ICA deposits and/or   payments   or personal
 expenditures. It is our understanding that the Receiver has sent subpoenas for the documentation.
 See Schedule 3
      Case 1:24-cv-00055-MAD-CFH Document 173-1 Filed 04/18/24 Page 7 of 84



          Berone Capital Fund LP RBC Account xOOH

         We reviewed and analyzed the Berone Capital Fund LP RBC statements for account ending xOOll
         for the period May 1, 2022, through December 31, 2023. Findings for this account are as follows
          (See Schedule 6 for a complete summary):

         Internal Transfers

         The internal transfers to and from Berone Capital Fund LP RBC account xOOll are as follows:


                   TRANSACTION DESCRIPTION                            TOTAL DEBIT              TOTAL CREDIT
           BERONE CAPITAL FUND 17                                          10,527,390.42
           PRIME CAPITAL VENTURES LLC 18                                    1,865,000.00
           BERONE CAPITAL FUND19                                                                    441,303.00



                                                                     $     12,392,390.42   $        441,303.00



         Unknown Transfers to/from Berone Capital Fund LP RBC xOOll

         BST identified a transfer in of $20,000,000 from Signature Bank account x3581 on October 26,
         2022. To date, we do not have any Signature Bank statements. However, there was a $20,000,000
         transfer made on October 24, 2022 from Berone Capital Fund LP to Signature Bank account x3581
         (unknown bank account).           It is our understanding that the Receiver has subpoenaed this
         information.

         A total of $21,000,000 went to unknown Signature bank accounts.

         Unknown Disbursements and Deposits

         We have identified other transactions within this account wherein we need additional supporting
         information       to determine    whether they areICA deposits and/or payments or personal
         expenditures. Additionally, it should be noted that $6,000,000 was transferred to a "M Caro Esq
         IOLTA" account on October 27, 2022.            It is unknown what this transaction pertains to.20     See
         Schedule 3




17 The $10,527,390.42 in transfers from Berone Capital Fund LP RBC xOOll was traced to Berone Capital Fund LP
Flagstar account x3727 .
18 The 1,865,000 in transfers from Berone Capital Fund LP RBC xOOll was traced to Prime Capital Ventures LLC
Keybank account x2233.
19 The transfers to Berone Capital Fund LP RBC xOOll of $441,303 was traced from Berone Capital Fund LP Flagstar
account x3727.
20 It's our understanding that the Receiver is further investigating this transaction.
     Case 1:24-cv-00055-MAD-CFH Document 173-1 Filed 04/18/24 Page 8 of 84



         Berone Capital Fund LP Flaqstar Account x3727

         We reviewed and analyzed Berone Capital Fund LP Flagstar statements for account x3727 for the
         period June 1, 2022, through December 31, 2023. Findings for this account are as follows (See
         Schedule 7 for full summary):

         Internal Transfers


         The internal transfers to and from Berone Capital Fund LP Flagstar account x3727 are as follows:


                    TRANSACTION DESCRIPTION                             TOTAL DEBITS            TOTAL CREDITS
          BERONE CAPITAL FUND LP TO/FROM RBC
          xOOll                                                                 441,303.00          10,527,390.42
          BERONE CAPITAL FUND LP TO TD X1876                                  1,326,288.34
          BERONE CAPITAL FUND LP TO FLAGSTAR X5292                                19,193.00



                                                                    $         1,786,784.34     $    10,527,390.42



         Unknown Transfers to Berone Capital Fund LP Flagstar x3727


         BST identified unknown bank account deposits that we were unable to trace from any of the
         accounts we were provided statements for, they are as follows:


                    TRANSACTION DESCRIPTION                             TOTAL DEBITS            TOTAL CREDITS
          BANK OF AMERICA 21                                                                            14,955.00
          BERONE CAPITAL FUNDLP 22                                                                   5,900,000.00
          DEPOSIT                                                                                     330,000.00



                                                                    $                           $    6,244,955.00



         Personal Expenditures from Berone Capital Fund LP Flagstar x3727

         The total large transactions that were identified as personal expenditures were approximately
         $944,909 as follows:

                    TRANSACTION DESCRIPTION                             TOTAL DEBITS            TOTAL CREDITS
          LUXURY- PURCHASES                                                     154,000.00
          POTENTIAL AUTOMOTIVE EXPENSE                                          690,909.03
          LUXURY - PRIVATE JETS / CHARTERED PLANES                              100,000.00



                                                                   $           944,909.03       $



21 The Flagstar wire documents referred to this credit as "Unable to apply need valid credit account".
22 The Flagstar wire documents referred to this credit as "UTA Due to need account to credit org ref". Per the
Receiver, this is potentially a reversal of transfers made to Martin Karo, ESQ IOLTA.
      Case 1:24-cv-00055-MAD-CFH Document 173-1 Filed 04/18/24 Page 9 of 84



         Unknown Disbursements and Deposits


         We have identified other transactions within this account wherein we need additional supporting
         information     to determine      whether they are         ICA   deposits and/or       payments   or    personal
         expenditures. Additionally, it should be noted, $11,800,000 was transferred to a "M Caro Esq
         IOLTA" account on October 27, 2022.            It is unknown what this transaction pertains to.23            See
         Schedule 3




         Berone Capital LLC TD Account X1876

         We reviewed and analyzed Berone Capital LLC TD statements for account X1876 for the period
         January 1, 2022, through December 31, 2023. Findings for this account are as follows (See
         Schedule 8 for full summary):



         Internal Transfers


         The internal transfers to and from Berone Capital LLC TD account X1876 are as follows:


                     TRANSACTION DESCRIPTION                                  TOTAL DEBITS            TOTAL CREDITS
          BERONE CAPITAL LLC TD x6689                                              623,783.36              148,966.05
           BERONE CAPITAL LLC TD x7006                                             357,371.62               15,000.00
           BERONE CAPITAL FUND LP FLAGSTAR X3727                                                          1,326,288.34



                                                                      $            981,154.98     $      1,490,254.39



         Unknown Transfers to/from Berone Capital LLC TD xl876

         BST identified unknown bank account deposits and/or credit transfers that we were unable to
         trace from any of the accounts we were provided statements for. A total of approximately $76,864
         went into unknown bank accounts.




                     TRANSACTION DESCRIPTION                                  TOTAL DEBITS            TOTAL CREDITS
          ATM WITHDRAWAL                                                            20,049.37
          BERONE CAPITAL L                                                          36,017.60
          DEBIT                                                                     14,000.00
          TRANSFER TO / FROM TD CHECKING X6800                                       6,797.10                   5,530.00



                                                                          $         76,864.07     $             5,530.00




23 It's our understanding that the Receiver is further investigating this transaction.
    Case 1:24-cv-00055-MAD-CFH Document 173-1 Filed 04/18/24 Page 10 of 84



         Personal Expenditures from Berone Capital LLC TD X1876


         The total transactions that were identified as personal expenditures were approximately $93,288
         as follows:

                       TRANSACTION DESCRIPTION                           TOTAL DEBITS           TOTAL CREDITS
           POTENTIAL AUTOMOTIVE EXPENSE                                        63,718.39
           LUXURY -PURCHASES 24                                                  4,699.90
           PERSONAL -TRAVEL 25                                                 24,869.49



                                                                     $         93,287.78        $


         Prime Commercial Lending Keybank Account x4465

       We reviewed and analyzed Prime Commercial Lending Keybank statements for account x4465 for
       the period March 1, 2022, through December 31, 2023. Findings for this account are as follows (See
       Schedule 9 for full summary):



         Internal Transfers


        The internal transfers to and from Prime Commercial Lending Keybank account x4465 are as
        follows:


                       TRANSACTION DESCRIPTION                           TOTAL DEBIT            TOTAL CREDIT
           TINA AND KRIS ROGLIERI KEYBANK X2848                                51,700.00              433,924.90
           PRIME CAPITAL VENTURES KEYBANK X2233                                  9,500.00           5,511,415.00
           COMMERCIAL CAPITAL TRAINING GROUP LLC
           KEYBAN Kx4541                                                      397,000.00               82,000.00
           TINA AND KRIS ROGLIERI KEYBANK X5837                                18,000.00
           PRIME CAPITAL VENTURE CITI X6945                                                           121,478.00



                                                                 $          476,200.00      $       6,148,817.90



        Unknown Transfers to/from Prime Commercial Lending Keybank x4465

        BST identified unknown bank account transactions and withdrawals that we were unable to trace
        to any of the accounts we were provided statements for. It is our understanding that the Receiver
        has subpoenaed this information. A total of approximately $1,433,497 went into unknown bank
        accounts.




24 These payments consisted of expenditures for jewelry and name brand cigars.
25 These expenditures consisted of airfare, hotels, and car rentals.
     Case 1:24-cv-00055-MAD-CFH Document 173-1 Filed 04/18/24 Page 11 of 84



                    TRANSACTION DESCRIPTION                         TOTAL DEBIT              TOTAL CREDIT
           INTERNAL                                                     1,378,047.05
           INTERNET TRANSFER TO/FROM DDAxO768                              23,450.00                7,500.00
           INTERNET TRANSFER TO/FROM DDAx2134                              32,000.00               62,100.00



                                                                $      1,433,497.05      $        69,600.00



         Personal Expenditures to and from Prime Commercial Lending Keybank x4465

         The total large transactions that were identified as personal expenditures were approximately
        $602,081 as follows:

                    TRANSACTION DESCRIPTION                         TOTAL DEBIT              TOTAL CREDIT
           POTENTIAL AUTOMOTIVE EXPENSE                                    98,805.43
           LUXURY - PRIVATE JETS / CHARTERED PLANES                       101,000.00
           LUXURY -PURCHASES 26                                           178,579.90
           LUXURY -WATCHES                                                111,000.00
           PERSONAL -TRAVEL 27                                            112,695.23                3,759.25



                                                                $        602,080.56      $          3,759.25



        Unknown Disbursements and Deposits

        We have identified other transactions within this account wherein we need additional supporting
        information to    determine    whether they are       ICA deposits   and/or    payments   or personal
        expenditures. See Schedule 3

        Status


        We are currently continuing our analysis of the following accounts:


             •   Commercial Capital Training Group KeyBank account x4541
             •   PCV Farmers account x5665

            •    PCV RBC account xOO 17

            •    PCV Interactive Brokers x0095

            •    Berone Capital Fund LP TD accounts x6689 and x7006
            •    Berone Capital Fund LP Flagstar account x5292

            •    Berone Capital Partners LLC Interactive Brokers accounts x4802 and x4888

            •    Chris & Tina joint KeyBank accounts x2848 and x5837




26 These payments consisted of expenditures for entertainment and name brand cigars.
27 These expenditures consisted of airfare, hotels, and car rentals.
                                            Case 1:24-cv-00055-MAD-CFH Document 173-1 Filed 04/18/24 Page 12 of 84


SCHEDULE 1

SUMMARY OF ICA DEPOSITS FROM THIRD-PARTY BORROWERS

SOURCE: EXECUTED VERIFIED THIRD PARTY COMPLAINT AND PCV WIRES FROM FARMERS BANK ACCOUNT x5665



                                                                                                                                              DATE OF WIRE TO         AMOUNT RETURNED TO           UNACCOUNTED FOR
                           THIRD PARTY BORROWER                           ICA DEPOSIT DATE   ORIGINAL LOAN AMOUNT     ICA DEPOSIT AMOUNT        BORROWERS             THIRD PARTY BORROWER         ICA DEPOSIT AMOUNT
                                                                    HI
      ONWARD PARTNERS LLC                                                     09/22/22        $      107,000,000.00   $      20,000,000.00                        $            16,000,000.00   $             4,000,000.00
                                                                    (21
      B&R ACQUISITION PARTNERS                                                11/30/22                22,575,000.00           4,300,000.00                                                                   4,300,000.00
                                                                    (3)
      526 MULFREESBORO LLC                                                    04/07/23                18,112,500.00           4,312,500.00                                                                   4,312,500.00
                                                                    l«)
      HCW BIOLOGICS INC                                                       04/21/23                26,250,000.00           5,250,000.00                                                                   5,250,000.00
                                                                    is)
      COMPASS -CHARLOTTE                                                      04/27/23                79,511,250.00          15,902,250.00                                                                  15,902,250.00
                                                                    is)
      CAMSHAFT CRE 1 LLC                                                      05/12/23                                       13,400,000.00                                      1,000,000.00                12,400,000.00
                                                                    I?)
      NEWLIGHT TECHNOLOGIES INC                                              05/23/23                 13,125,000.00           2,500,000.00                                                                   2,500,000.00
                                                                    is)
      ER TENNESSEE LLC                                                       08/25/23                 46,350,000.00          15,000,000.00                                                                  15,000,000.00
                                                                    is)
      MOTOS AMERICA INC                                                      09/21/23                 15,000,000.00           3,000,000.00                                                                   3,000,000.00
                                                                   U")
      LOFTS PHASES 2 & 3 LLC - PARAGON                                                                                        2,369,400.00        09/26/23                      2,369,400.00
                                                                   lio)
      REDEEM - 18 S MAIN LLC - LION GROUP                                                                                      800,000.00         09/26/23                        800,000.00
                                                                   lio)
      SEYBURN LAW PLLC -HERITAGE                                                                                               333,333.33         09/26/23                        333,333.33
                                                                   (10)
      SHEPPARD MULLIN RICHTER & HAMPTON LLP                                                                                     108,678.23        10/04/23                        108,678.23
                                                                   lio)
      BRIGHTSMITH TULSA LLP                                                                                                     120,766.27        10/04/23                         40,766.27                   80,000.00
                                                                   lio)
      THE WALLICK FAMILY 2022 TRUST                                                                                             175,000.00                                                                    175,000.00
                                                                   110)
      3D LUNDY LTD - CARUSO BUILDERS                                                                                          1,563,563.71                                                                  1,563,563.71
                                                                   no)
      CARUSO HOME BUILDERS LLC - CARUSO BUILDERS                                                                              1,150,000.00                                                                  1,150,000.00
                                                                   lio.
      SOUTH LAND TITLE LLC ESCROW ACCT- 135 RAILROAD                                                                           400,000.00                                                                     400,000.00
                                                                   110)
      BARCLAY DAMON LL TRUST ACCOUNT - BARCLAY DAMON LLP                                                                      2,000,000.00        09/26/23                      2,000,000.00
                                                                   no)
      KETAN MASTERS                                                                                                            600,000.00         09/26/23                        600,000.00
                                                                   lio)
      REDEEM TEMPLE COURTYARD LLC                                                                                              200,000.00         09/26/23                        200,000.00
                                                                   (10)
      BARCLAY DAMON LL TRUST ACCOUNT - BARCLAY DAMON LLP                                                                       600,000.00         09/27/23                        600,000.00
                                                                   (10)
      CHRISTOPHER B LOWE - CBL INVESTMENTS LLC                                                                                  80,000.00         10/04/23                         80,000.00
                                                                   (io)
      SCOTT S WALLICK & MARY LEE WALLICK                                                                                       175,000.00         10/04/23                        175,000.00
                                                                   di)
      1800 PARK AVENUE LLC                                                   12/22/23                 98,905,467.00           5,000,000.00                                                                  5,000,000.00




                                                                                                    426,829,217.00          99,340,491,54                         $            24,307,177.83   $           75,033,313.71



FOOTNOTES:

(A) THE AMOUNT OF UNACCOUNTED FOR ICA DEPOSITS FROM THE COMPLAINT IS $63,364,750. THERE IS A DIFFERENCE OF $8,300,000.

(1)   ONWARD PARTNERS ENTERED INTO A BUSINESS EXPANSION LINE OF CREDIT IN THE AMOUNT OF $107,000,000 AND REQUIRED ONWARD ESTABLISH AN ICA (INTEREST CREDIT ACCOUNT) WITH A WIRE PAYMENT OF $20,000,000.

      A COMPLAINT WAS LATER FILED AGAINST PRIME FOR FAILURE TO MAKE FIRST ADVANCE. ONWARD WAS ABLE TO GET PRIME TO REFUND $16,000,000, BUT THERE IS AN OUTSTANDING BALANCE OF $4,000,000.

(2)   B&R HAS ALLEGED THAT IT MADE A $4,300,000 ICA PAYMENT ON NOVEMBER 30, 2022 FOR A PURPORTED $22,575,000 LOAN, BUT THE LOAN WAS NEVER MADE AND THE DEPOSIT NEVER RETURNED.

(3)   MURFREESBORO ENTERED INTO A DEVELOPMENT LINE OF CREDIT IN THE MAX AMOUNT OF $18,112,500 AND REQUIRED MURFREESBORO TO CREATE AN ICA BY DEPOSITING $4,312,500 INTO PRIME'S ACCOUNT.




                                                                                                                                                                                                                     1OF2
                                         Case 1:24-cv-00055-MAD-CFH Document 173-1 Filed 04/18/24 Page 13 of 84


SUMMARY OF 1CA DEPOSITS FROM THIRD-PARTY BORROWERS

SOURCE: EXECUTED VERIFIED THIRD PARTY COMPLAINT AND PCV WIRES FROM FARMERS BANK ACCOUNT x5665



      PRIME HAS NOT FUNDED THE LOAN OR RETURNED THEIR ICA DEPOSIT.

(4) HCW BIOLOGICS ENTERED INTO A DEVELOPMENT LINE OF CREDIT IN THE PRINCIPAL AMOUNT OF $26,250,000 AND REQUIRED HCW TO WIRE PRIME $5,250,000 TO SERVE AS A DEPOSIT. PRIME HAS NOT FUNDED
      THE LOAN OR RETURNED THEIR ICA DEPOSIT.

(5) COMPASS - CHARLOTTE ENTERED INTO A DEVELOPMENT LINE OF CREDIT IN THE PRINCIPAL AMOUNT OF $79,511,250. COMPASS PAID $15,902,250 TO PRIME AS AN ICA PAYMENT.

      PRIME HAS NOT FUNDED THE LOAN OR RETURNED THEIR ICA DEPOSIT.

(6)   CAMSHAFT MA.E AN ICA PAYMENT IN THE AMOUNT OF $13,400,000 AND PRIME FAILED TO RETURN THE DEPOSIT. PRIME ALLEGEDLY PAID $1,000,000 BACK TO CAMSHAFT IN RESPONSE TO THE ISSUANCE OF FINAL JUDGMENT
      AND STILL OWES CAMSHAFT $12,400,000.
(7)   NEWLIGHT TECHNOLOGIES ENTERED INTO A LINE OF CREDIT IN THE PRINCIPAL AMOUNT OF $13,125,000. NEWLIGHT WIRED $2,500,000 TO PRIME AS PER THEIR AGREEMENT. PRIME HAS NOT FUNDED THE LOAN

      OR RETURNED THEIR ICA DEPOSIT.

(8)   ER TENNESSEE ENTERED INTO A LINE OF CREDIT IN THE PRINCIPAL AMOUNT OF $46,350,000. ER MADE AN ADVANCE OF $15,000,000 TO PRIME IN FURTHERANCE OF THE BUINESS EXPANSION LINE OF CREDIT. PRIME

      HAS NOT FUNDED THE LOAN OR RETURNED THEIR ICA DEPOSIT.

(9)   MOTOS AMERICA INC ENTERED INTO A REVOLVING BUSINESS EXPANSION LINE OF CREDITIN THE PRINCIPAL AMOUNT OF $15,000,000. MOTOS MADE AN ICA DEPOSIT OF $3,000,000 TO PRIME. PRIME HAS

      NOT FUNDED THE LOAN OR RETURNED THEIR ICA DEPOSIT.

(10) THE PCV WIRE INFORMATION WAS PROVIDED FROMTHE FARMERS BANK ACCOUNT INFORMATION

(11) 1800 PARK AVENUE ENTERED INTO A CONSTRUCTION LOAN LINE OF CREDIT IN THE PRINCIPAL AMOUNTOF $98,905,467. 1800 PARK WIRED $5,000,000 TO KEYBANK ACCOUNT PROVIDED BY KIMMY HUMPHREY. PRIME HAS NOT

      FUNDED THE LOAN OR RETURNED THEIR ICA DEPOSIT.




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                                                 Case 1:24-cv-00055-MAD-CFH Document 173-1 Filed 04/18/24 Page 14 of 84


SCHEDULE2

SUMMARY OF POTENITAL ADDITIONAL ICA DEPOSITS FROM REVIEW OF BANK STATEMENTS

SOURCE: BANK STATEMENTS1*1
                                                                                                                                                                           ADDITIONAL INFORMATION IF AVAILABLE
                                                                                                                                                  DATE OF WIRE TO                                                    AMOUNT RETURNED TO
                            POTENTIAL THIRD PARTY BORROWER                       ICA DEPOSIT DATE     BANK     ACCOUNT#   ICA DEPOSIT AMOUNT       BORROWERS           BORROWER BANK      BORROWER ACCOUNT#      THIRD PARTY BORROWER
ICA TRUST PAYMENT PER EVE PARK LONDON DEVELOPMENT CREDIT AGREEEMENT
Refers to S2E Technologies Inc as payor                                              10/18/22         CITI                        5,999,975.00                                                                   $
S2E TECHNOLOGIES                                                                     08/11/22       KEYBANK
                                                                                                                          £         24,980.00
EVE PARK LONDON                                                                                       CITI                                           04/17/23       BANK OF NOVA SCOTIA                                       2,000,000.00
EVEPARK LONDON                                                                                        CITI                                           05/02/23       BANK OF NOVA SCOTIA                                       4,000,000.00
ICA DEPOSIT - ALWAYS THERE TRANSPORT CORP                                            10/24/22         CITI                        2,600,000.00
ALWAYS THERE TRANSPORT CORP                                                         09/19/22        KEY BANK                        25,000.00

ALWAYS THERE TRANSPORT CORP                                                                         KEYBANK                                          11/03/23                                                                 1,900,000.00
ALWAYS THERE TRANSPORT CORP                                                                         KEYBANK                                          11/13/23                                                                    25,000.00
ALWAYS THERE TRANSPORT CORP                                                                         KEYBANK                                          11/17/23                                                                   700,000.00
ICA FOR PR TZEDEK

refers to Truss Financial LLC as payor                                               10/26/22         CITI                        1,950,000,00

PRI TZEDEK LLC                                                                      08/17/22        KEYBANK                         25,000.00
ICA FOR PRESETON MEADOWS TEXAS

refers to Truss Financial LLC as payor                                              10/26/22          CITI                       1,950,000.00

PRESTON MEADOWS                                                                     08/17/22        KEYBANK                         25,000.00

TRUSS FINANCIAL LLC                                                                 11/09/22          CITI                          90,000.00

TRUSS FINANCIAL LLC                                                                 12/05/22          CITI                       2,500,000.00

TRUSS FINANCIAL LLC                                                                                   CITI                                           05/25/23       FLAGSTAR BANK                                             6,500,000.00
TRUSS FINANCIAL                                                                     07/22/22        KEYBANK                      2,000,000.00

TRUSS FINANCIAL                                                                     05/31/23        KEYBANK                                                                                                                   3,000,000.00
TRUSS FINANCIAL                                                                     06/02/23        KEYBANK                                                                                                                     225,000.00
                                                                           W
SEYBURN LAW PLLC                                                                                      CITI                                           05/22/23       JPMORGAN CHASE                                            1,200,000.00
SEYBURN LAW PLLC                                                                                    KEYBANK                                          07/05/23                                                                  333,333.33
                                                                           (2>
SK LAW GROUP PLLC - HERITAGE FARM LOAN                                              12/23/22          CITI                       2,400,000.00

SK LAW GROUP LLC                                                                                    KEYBANK                                          08/11/23                                                                  333,333.00
SK LAW GROUP LLC                                                                                    KEY BANK                                         10/10/23                                                                  333,333.33
                                                                           (3)
PARTIAL ICA FUNDS FOR 18 S MAIN STREET PROPERTY - THE LION GROUP DFW LLC            01/12/23          CITI                       1,000,000.00

ARDENT ACQUISITION                                                                  08/23/23        KEYBANK                        250,000,00

ARDENT ACQUISITION                                                                  08/25/23        KEYBANK                        200,000.00

ARDENT ACQUISITION                                                                  08/25/23        KEYBANK                        300,000.00

ARDENT ACQUISITION                                                                  09/08/23        KEYBANK                        100,000.00

ARDENT ACQUISITION                                                                  09/08/23        KEYBANK                        150,000.00

ARXACCURATE RX                                                                      05/13/22        KEYBANK                         20,000.00

ARXACCURATE RX                                                                      06/03/22        KEYBANK                      1,000,000.00

BLOACK, LONGO, LAMARCA& BRZEZINSKI                                                  02/16/23          CITI                       2,100,000.00

CHARLES W SHOFFNER - TJM PROPERTIES                                                 11/14/22          CITI                       5,000,000.00

CJI TRADING LLC                                                                     12/02/22          CITI                       7,000,000.00

CJI TRADING LLC                                                                                     KEYBANK                                         08/30/22                                                                  3,048,750.00
CMTH DEVELOPMENT                                                                    09/20/22        KEYBANK                         15,000.00

CMTH DEVELOPMENT                                                                    12/20/22          CITI                       1,541,000.00

CMTH DEVELOPMENT                                                                    12/20/22          cm                         1,000,000.00

CMTH DEVELOPMENT                                                                                    KEYBANK                                         08/02/23                                                                    20,000.00
FIELDPOINT EQUITY INFRASTRUCTURE                                                    11/29/22          CITI                         800,030.00

FIELDPOINT EQUITY LLC                                                               11/30/22          CITI                         299,850.00 I



                                                                                                                                                                                                                                       1OF2
                                                     Case 1:24-cv-00055-MAD-CFH Document 173-1 Filed 04/18/24 Page 15 of 84


                                                                                                                                                                                                    ADDITIONAL INFORMATION IF AVAILABLE
                                                                                                                                                                        DATE OF WIRE TO                                                       AMOUNT RETURNED TO
                            POTENTIAL THIRD PARTY BORROWER                                     ICA DEPOSIT DATE     BANK        ACCOUNT#        ICA DEPOSIT AMOUNT        BORROWERS            BORROWER BANK          BORROWER ACCOUNT#       THIRD PARTY BORROWER
 GARRETS WALES - BUSINESS INVESTMENT                                                                 12/01/22       CITI                                 1,000,000.00
 HOWARD LLC                                                                                         03/21/23        CITI                                 1,700,000.00
 HOWARD LLC                                                                                                         CITI                                                       05/03/23     BUSINESS FIRST BANK                                         1,700,000.00
 HUDSON & HUDSON LLC                                                                                03/06/23        CITI                                 1,000,000.00
 HUDSON AND HUDSON                                                                                                KEYBANK                                                      11/27/23                                                                    10,000.00
 JHM LENDING VENTURES LLC                                                                           11/30/22        cm                                   2,200,000.00
 LABORE ET HONORE LLC                                                                               09/22/22        CITI                                 1,508,888.30
 LAKE EDGES INVESTMENTS                                                                             07/26/22      KEYBANK                                   25,000.00
 LAKES EDGE DEVELOPMENT GROUP LLC                                                                   10/13/22        CITI                                 3,000,000.00
 LAKES EDGE DEVELOPMENT GROUP LLC                                                                                   cm                                                     04/07/23        WOODLANDS BANK                                               3,000,000,00
 MY T PHAM -LOAN CLOSING                                                                            01/31/23        CITI                                 1,526,000.00
 ONWARD HOLDINGS LLC                                                                                                CITI                                                   12/12/22        WELLS FARGO                                                  3,000,000.00
 ONWARD HOLDINGS LLC                                                                                                CITI                                                   04/17/23        WELLS FARGO                                                  2,000,000.00
 PIPER CAPITAL FU...                                                                                05/31/23      KEYBANK                                 600,000.00
 PIPER CAPITAL FU...                                                                                05/31/23      KEYBANK                                5,000,000.00
 PIPER CAPITAL FU...                                                                                05/31/23      KEY BANK                               5,000,000.00
PIPER CAPITAL FU...                                                                                 08/04/23      KEYBANK                                1,000,000.00
PIPER CAPITAL FU...                                                                                 08/11/23      KEYBANK                                 350,000.00
PIPER CAPITAL FU...                                                                                 08/11/23      KEYBANK                                 500,000.00
PIPER CAPITAL FU...                                                                                 08/11/23      KEYBANK                                 500,000.00
SP ALPHA OPPORTUNITIES                                                                              11/07/23      KEYBANK                               1,500,000.00
SP HARBOR QOZB L...                                                                                 05/16/23      KEYBANK                                  40,000.00
SP HARBOR QOZB L...                                                                                 10/05/23      KEYBANK                               2,500,000.00
SQRL HOLDINGS                                                                                       08/14/23      KEYBANK                                  40,000.00
SQRL HOLDINGS                                                                                       10/18/23      KEYBANK                               4,462,500.00
SRA-CH RICHLAND II LLC                                                                              01/06/23        CITI                                3,000,000.00
WAYNAR SCHMIDT - BRIDGE LOAN FOR ANVIL MECHANICAL INC                                               12/14/22        CITI                                2,000,000.00
WIRE TRANSFER - RETURNING YOUR !                                                                    12/09/22       CITI                                 2,344,409,00
ZELLER INVESTMENT LLC                                                                               03/22/23       CITI                                 2,500,000.00




                                                                                                                                                       83,662,632.30
                                                                                                                                                                                                                                          $           33,328,749.66


FOOTNOTES:

(A)   PRIME VENTURE CAPITAL CITI x6945 (9/2022 - 12/2023), KEYBANK X2233 (3/ 1/2022 - 12/31/2023)

(1)   THE SEYBURN LAW PLLC - HERITAGE IS IDENTIFIED IN THE PCV WIRES FROM FARMERS BANK ACCOUNT AS A THIRD PARTY BORROWER, HOWEVER THE AMOUNT WAS $333,333.33.

(2)   THE SEYBURN LAW PLLC - HERITAGE IS IDENTIFIED IN THE PCV WIRES FROM FARMERS BANK ACCOUNT AS A THIRD PARTY BORROWER, THERE IS AN ENTRY IN THE CITIBANK STATEMENT FOR SK
                                                                                                                                                                               LAW GROUP PLLC - HERITAGE FARM LOAN.
(3)   THE LION GROUP DFW LLC IS IDENTIFIED IN THE COMPLAINT, HOWEVER THE AMOUNT ON THE COMPLAINT WAS $800,000.

(4)   THIS MIGHT BE RELATED TO ONWARD PARTNERS.




                                                                                                                                                                                                                                                                2OF2
                                    Case 1:24-cv-00055-MAD-CFH Document 173-1 Filed 04/18/24 Page 16 of 84


SCHEDULES

SUMMARY OF UNKNOWN TRANSACTIONS WITH INSUFFICIENT INFORMATION (DEBITS/CREDITS) IDENTIFIED FROM REVIEW OF BANK STATEMENTS
SOURCE: CITIBANK X6945 (9/2022 - 12/2023), KEYBANK X2233 (3/2022 - 12/2023), RBC X0011 (5/1/2022 - 12/31/2023), FLAGSTAR X3727 (6/1/2022 - 12/31/2023),
TD X1876 (1/1/2022 - 12/31/2023) AND KEYBANK X4465 (3/1/2022 - 12/31/2023)



                                                                                                                                    WIRE / REF
      BANK   ACCOUNT#        DATE      TRANSACTION TYPE                      TRANSACTION DESCRIPTION                                 SERIAL#               DEBIT           CREDIT
KEYBANK             2233   04/18/22   WIRE DEPOSIT         ADAM B LAWLER                                                                            )                       1,393,889.59
KEYBANK             2233   05/10/22   WIRE WITHDRAWAL      CHRIS SNYDER                                                                                       10,000.00
KEYBANK             2233   06/03/22   WIRE DEPOSIT         MATTHEW DTHACKE                                                                          J                         25,000.00
KEYBANK             2233   06/22/22   WIRE WITHDRAWAL      CHRISTOPHER SNYDER                                                                                 10,000.00
KEYBANK             2233   07/22/22   WIRE WITHDRAWAL      CHRISTOPHER SNYDER                                                                                 10,000.00
KEYBANK             2233   07/25/22   WIRE WITHDRAWAL      CHRISTOPHER SNYDER                                                                                 10,000.00
KEYBANK             2233   09/07/22   WIRE WITHDRAWAL      CHRISTOPHER SNYDER                                                                                 10,000.00
KEYBANK             2233   09/07/22   WIRE WITHDRAWAL     CHRISTOPHER SNYDER                                                                                  10,000.00
KEYBANK            2233    09/13/22   WIRE WITHDRAWAL     CHRISTOPHER SNYDER                                                                                   5,000.00
CITIBANK           6945    09/22/22   TRANSFER CREDIT     ANDREA M CLARKE                                                                                                 12,291,111.70
KEYBANK            2233    09/22/22   WIRE WITHDRAWAL     CHRISTOPHER SNYDER                                                                                   5,000.00
CITIBANK           6945    10/04/22   TRANSFER DEBIT      INDIGO PHARMACEUTICAL                                                                           1,000,000.00
CITIBANK           6945    10/04/22   TRANSFER DEBIT      INDIGO PHARMACEUTICAL                                                                           1,000,000.00
CITIBANK           6945    10/13/22   TRANSFER DEBIT      INDIGO PHARMACEUTICAL                                                                           2,000,000.00
CITIBANK           6945    10/26/22   TRANSFER DEBIT      INDIGO PHARMACEUTICAL                                                                           2,000,000.00
RBC                0011    10/27/22   WIRE TRANSFER       M KARO ESQ IOLTA                                                      REFERENCE                 6,000,000.00
CITIBANK           6945    10/28/22   TRANSFER CREDIT     ROBERTS STRUM                                                                                                   2,000,000.00
FLAGSTAR           3727    11/04/22   OUTGOING WIRE       PHOENIX AMERICAN FINANCIAL SERVICE                                                                850,000.00
KEYBANK            2233    11/07/22   WIRE WITHDRAWAL     CHRISTOPHER SNYDER                                                                                 20,000.00
CITIBANK           6945    11/07/22   TRANSFER DEBIT      INDIGO PHARMACEUTICAL                                                                           1,698,750.00
FLAGSTAR           3727    11/09/22   OUTGOING WIRE       MARTIN KARO, ESQ IOLTA                                                                          5,900,000.00
FLAGSTAR           3727    11/09/22   OUTGOING WIRE       MARTIN KARO, ESQ IOLTA                                                                          5,900,000.00
CITIBANK           6945    11/18/22   TRANSFER DEBIT      RM LTD                                                                                          4,729,745.00
KEYBANK            2233    11/23/22   WIRE WITHDRAWAL     CHRISTOPHER SNYDER                                                                                 10,000.00
CITIBANK           6945    11/29/22   TRANSFER DEBIT      NORWELL VENTURES                                                                                  300,000.00
CITIBANK           6945    12/12/22   TRANSFER DEBIT      RM INC                                                                                          2,337,710.00
CITIBANK           6945    12/14/22   TRANSFER DEBIT      INDIGO PHARMACEUTICAL                                                                           3,000,000.00
CITIBANK           6945    12/15/22   TRANSFER DEBIT      WILSHIRE FINANCE PARTNERS INC                                                                   1,692,663.17
KEYBANK            2233    12/23/22   WIRE WITHDRAWAL     CHRISTOPHER SNYDER                                                                                 15,000.00
CITIBANK           6945    12/23/22   TRANSFER DEBIT      NEW COUNTRY GROUP                                                                               2,055,312.00
CITIBANK           6945    01/06/23   TRANSFER DEBIT      PRIORITY TITLE AND ESCROW                                                                         100,000.00
KEYBANK            2233    01/09/23   WIRE WITHDRAWAL     CHRISTOPHER SNYDER                                                                                 20,000.00




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                                 Case 1:24-cv-00055-MAD-CFH Document 173-1 Filed 04/18/24 Page 17 of 84



                                                                                                      WIRE / REF
   BANK    ACCOUNT#       DATE     TRANSACTION TYPE                         TRANSACTION DESCRIPTION    SERIAL#      DEBIT          CREDIT

RBC            0011     01/23/23   WIRE TRANSFER      ALEXANDER CAPITAL VENTURES                                     500,000.00
KEYBANK        2233     01/27/23   WIRE WITHDRAWAL    NORWELL VENTURES                                             1,683,653.70
KEYBANK        2233     01/31/23   WIRE WITHDRAWAL    PRIORITY TITLE A...                                          3,672,067.50
KEYBANK        2233     02/08/23   WIRE WITHDRAWAL    NORWELL VENTURES                                             1,100,000.00
KEYBANK        2233     02/15/23   WIRE WITHDRAWAL    INDIGO PHARMACEUTICALS                                       4,700,000.00
KEYBANK        2233     02/17/23   WIRE WITHDRAWAL    CHRISTOPHER SNYDER                                               10,000.00
KEYBANK        2233     03/03/23   WIRE WITHDRAWAL    CHRISTOPHER SNYDER                                              30,000.00

RBC            0011     03/16/23   WIRE TRANSFER      PHOENIX AMERICAN                                              1,700,000.00
RBC            0011     03/20/23   WIRE TRANSFER      ALEXANDER CAPITAL VENTURES                                     500,000.00

KEYBANK        2233     03/27/23   WIRE WITHDRAWAL    CHRISTOPHER SNYDER                                                5,000.00
CITIBANK       6945     04/07/23   TRANSFER CREDIT    DANIEL COSGROVE                                                              4,312,500.00
KEYBANK        2233     04/12/23   WIRE WITHDRAWAL    CHRISTOPHER SNYDER                                                6,000.00
KEYBANK        2233     04/27/23   WIRE WITHDRAWAL    CHRISTOPHER SNYDER                                                8,000.00
CITIBANK       6945     05/02/23   TRANSFER DEBIT     QUAD CITY BANK AND TRUST COMPANY                             3,094,000.00
CITIBANK       6945     05/09/23   TRANSFER DEBIT     GOTTMAN LAW PC                                               3,700,000.00
KEYBANK        2233     05/10/23   WIRE WITHDRAWAL    CHRISTOPHER SNYDER                                              15,000.00
CITIBANK       6945     05/18/23   TRANSFER DEBIT     COM COMPANY LLC                                              2,000,000.00
CITIBANK       6945     05/25/23   TRANSFER DEBIT     CHRIS SNYDER                                                    50,000.00
KEYBANK        2233     06/09/23   WIRE WITHDRAWAL    FIRST AMERICAN T...                                          4,100,000.00
KEYBANK        2233     06/13/23   WIRE WITHDRAWAL    QUAD CITY                                                     200,000.00
KEYBANK        2233     07/07/23   WIRE WITHDRAWAL    CHRISTOPHER SNYDER                                              25,000.00
KEYBANK        2233     08/14/23   WIRE WITHDRAWAL    CHRISTOPHER SNYDER                                              10,000.00
KEYBANK        2233     08/25/23   WIRE WITHDRAWAL    CHRISTOPHER SNYDER                                              15,000.00
KEYBANK        2233     09/12/23   WIRE WITHDRAWAL    INDIGO PHARMACEUTICALS                                        200,000.00

KEYBANK        2233     09/15/23   WIRE WITHDRAWAL    CHRISTOPHER SNYDER                                               8,000.00
KEYBANK        2233     09/20/23   WIRE WITHDRAWAL    CHRISTOPHER SNYDER                                              15,000.00
KEYBANK        2233     10/02/23   WIRE WITHDRAWAL    CHRISTOPHER SNYDER                                              10,000.00
KEYBANK        2233     10/12/23   WIRE WITHDRAWAL    MATTHEW THACKER                                              5,000,000.00
KEYBANK        2233     10/17/23   WIRE WITHDRAWAL    INDIGO PHARMACEUTICALS                                        200,000.00
KEYBANK        2233     10/20/23   WIRE WITHDRAWAL    FARMERS STATE BANK                                             140,000.00
KEYBANK        2233     10/24/23   WIRE WITHDRAWAL    CHRISTOPHER SNYDER                                              20,000.00
KEYBANK        2233     10/24/23   WIRE WITHDRAWAL    INDIGO PHARMACEUTICALS                                        200,000.00
KEYBANK        2233 1   10/27/23   WIRE WITHDRAWAL    CLARKE CAPITAL P...                                          4,000,000.00
KEYBANK        2233     11/10/23   WIRE WITHDRAWAL    CLARKE CAPITAL P...                                          2,000,000.00
KEYBANK        2233     11/10/23   WIRE DEPOSIT       MASSON JEAN PIER                                                             1,199,982.50
KEYBANK        2233     11/14/23   WIRE WITHDRAWAL    CLARKE CAPITAL P...                                          1,000,000.00




                                                                                                                                            2OF3
                             Case 1:24-cv-00055-MAD-CFH Document 173-1 Filed 04/18/24 Page 18 of 84



                                                                                              WIRE / REF
   BANK   ACCOUNT#    DATE      TRANSACTION TYPE                   TRANSACTION DESCRTIPTION    SERIAL#           DEBIT              CREDIT
KEYBANK       2233   11/14/23   INTERNAL WIRE      JEFF PETERSON                                                                     1,000,000.00
KEYBANK       2233   11/27/23   WIRE WITHDRAWAL    CHRISTOPHER SNYDER                                              15,000.00
KEYBANK       2233   12/15/23   WIRE WITHDRAWAL    CHRISTOPHER SNYDER                                              15,000.00
KEYBANK       4465   12/22/23   WIRE WITHDRAWAL    CPHLLC                                                       2,000,000.00



                                                                                                           $   82,645,901.37   $   22,222,483.79




                                                                                                                                             3 OF 3
                  Case 1:24-cv-00055-MAD-CFH Document 173-1 Filed 04/18/24 Page 19 of 84


 SCHEDULE 4
 COMPASS -CHARLOTTE 1031 LLC v PRIME CAPITAL VENTURES LLCetal
 ENTITY - PRIME CAPITAL VENTURES LLC
 SOURCE: BANK STATEMENTS FOR KEYBANK X2233 FOR THE PERIOD 3/1/2022 TO 12/31/2023


 TRANSACTION DESCRTIPTION                              TOTAL DEBIT          TOTAL CREDIT                            BST COMMENTS
 1800 PARK AVE LLC
                                                                            $   5,085,000.00   IDENTIFIED AS THIRD PARTY BORROWER IN SCH 1
 1STDIBS.COM                                                  275,950.99                       LUXURY PURCHASES
 3D LUNDY LTD                                               1,577,570.14                       IDENTIFIED AS THIRD PARTY BORROWER SCH 1
 6 TV HOLDINGS LLC
                                                                                   20,000.00
AC BRANDS LLC
                                                                                   35,000.00
ACCRETE INC
                                                                                   25,000.00
ACV MCCARTY LANE
                                                                                   30,000.00
ADAM B LAWLER                                                                   1,393,889.59   UNKNOWN - INSUFFICIENT INFORMATION
ADAM STEINBERG                                                  10,000.00
Al DESIGN                                                   1,248,567.65                       POTENTIAL AUTOMOTIVE EXPENSE
AJUSTCO LLC                                                     25,000.00          25,000.00
ALEXANDER PALINE                                                35,400.00
ALWAYS THERE TRANSPORT CORP                            $    2,625,000.00    $      25,000.00   IDENTIFIED AS ADDITIONAL ICA DEPOSITS IN SCHEDULE 2
AMERICAN VENTURE...                                             30,000.00
ANVIL MECHANICAL
                                                                                   25,000.00
APARTMENT WORTH
                                                                                   20,000.00
ARDENT ACQUISITION                                                              1,000,000.00   IDENTIFIED AS ADDITIONAL ICA DEPOSITS IN SCHEDULE 2
ARX ACCURATE RX                                                                 1,020,000.00   IDENTIFIED AS ADDITIONAL ICA DEPOSITS IN SCHEDULE 2
ASHLINE DEVELOPMENT
                                                                                   25,000.00
ASPEN COMMMERCIAL                                             35,000.00            10,000.00
ATACAMA YELLOWTA...
                                                                                   50,000.00
BANK OF AMERICA NYC                                                                25,000.00
BASILDON ESTATES
                                                                                   25,000.00
BAY CAPITAL ADVISORS                                          15,000.00
BEGINNING BALANCE
BERONE CAPITAL FUND LP                                                          1,865,000.00   TRACED FROM BERONE CAPITAL FUND KEYBANKxOOll
BGC CAPITAL                                                   25,000.00
BLANCO SOCIEDAD                                                                    75,000.00
BRANCH 0423 NY                                                10,050.00             3,696.39
BRANCH 0586 NY                                                12,000.00
BRANDON WHEELESS                                             190,000.00
BRIGHTSMITH CAPITAL
                                                                                   30,000.00   IDENTIFIED AS THIRD PARTY BORROWER SCH 1
BRODY TRADING INC                                                                  35,000.00
BRUNSWICK FOOD A...                                             6,955.10
CAC REALTY LLC
                                                                                   40,000.00
CAMSHAFT CAPITAL
                                                                                1,400,000.00   IDENTIFIED AS ORIGINAL ICA DEPOSITS SCH 1
CAMSHAFT CRE1...                                           1,000,000.00                        IDENTIFIED AS ORIGINAL ICA DEPOSITS SCH 1
CAN STORES INC
                                                                                   25,000.00
CANADIAN IMPERIA CATT
                                                                                    3,036.00
CARUSO HOME BUILDCORP PAY
                                                                                   15,000.00   IDENTIFIED AS THIRD PARTY BORROWER SCH 1
CBRE INC AGENT F...
                                                                                   75,000.00
CEDRIC DUPONT AN...
                                                             165,100.00
CHC DESIGN AND...
                                                                                    5,000.00
CHOICE FINANICALCPFVENDOR                                       7,614.37
CHRISTAL PAULINE                                              36,400.00
CHRISTOPHER SNYDER                                           342,000.00                        UNKNOWN - INSUFFICIENT INFORMATION
CJI TRADING LLC                                            3,048,750.00                        IDENTIFIED AS ADDITIONAL ICA DEPOSITS IN SCHEDULE 2
CJMIRRVTR UTA
                                                                                   40,000.00
CLARK HILL PLC                                                10,000.00
CLARKE CAPITAL P...
                                                           7,000,000.00                        UNKNOWN - INSUFFICIENT INFORMATION
CMTH DEVELOPMENT                                              20,000.00            15,000.00   IDENTIFIED AS ADDITIONAL ICA DEPOSITS IN SCHEDULE 2
CMTH HOLDINGS INC                                          2,541,000.00                        IDENTIFIED AS ADDITIONAL ICA DEPOSITS IN SCHEDULE 2




                                                                                                                                                     1OF5
                  Case 1:24-cv-00055-MAD-CFH Document 173-1 Filed 04/18/24 Page 20 of 84


 TRANSACTION DESCRTIPTION                 TOTAL DEBIT        TOTAL CREDIT                            BST COMMENTS
 COCAPITAL FUNDING                              100,000.00
 COMMERICAL CAPITAL
                                                                    35,000.00
 COMMMUNITY GARDEN
                                                                    25,000.00
 CONEXTIONS INC
                                                                  950,000.00
CONSORCIO HOTELE...
                                                                    74,990.00
COOK KEITH DAVI...
                                                  1,999.22
CORNERSTONE GROUP                                                   35,000.00
CORVUS DEVELOPMENT
                                                                   20,000.00
COSGROVE CAPITAL
                                                                   40,000.00
CROWN REAL ESTATE
                                                                    25,000.00
CYPRESS POINT HOLDINGS
                                                                   30,000.00
DAYUMALLC
                                                                   25,000.00
DENNIS M ALBERT                                  20,000.00         20,000.00
DONALD TOSH
                                                                   25,000.00
DONNA MOCK                                      42,850.00
DRE FILMS INC                                   125,000.00
EAGLES NEST DEVELOPMENT
                                                                   50,000.00
EASTSIDE                                        20,000.00
EASTSIDE BLOCK P
                                                                   20,000.00
ECOSTAR ENERGY LLC
                                                                   50,000.00
ELFPERTSINC                                     59,925.00
ENHANCED SUPPORT
                                                                   35,000.00
ERASE TECHNOLOGIES                                5,125.00
EVOLT ENTERPRISES                                                  50,000.00
EVOLVE DEVELOPMENT
                                                                   75,000.00
EXOTICARE 60 BUR...
                                                   590.00
FARMERS STATE BANK 0398                        140,000.00                       UNABLE TO TRACE
FEES                                             4,021.00
FELLERS SNIDER B                                  1,850.00
FENIX FAM INC                                  218,500.00                       POTENTIAL HEALTHCARE
FIRST AMERICANS..                            4,100,000.00                       UNKNOWN - INSUFFICIENT INFORMATION
FMTC CUSTODIAN
                                                                   19,000.00
FPBCR CARD INTERNET                                783.48
GARDINER ROBERTS                                50,000.00
GIA CAPITAL LLC
                                                                  200,000.00    INVESTMENT ADVISORY FIRM
GIGANTI AND GIGA...                            121,700.00
GIRVIN FERLAZZO                                 59,372.00
GLOBAL IMPACT ASACCT...
                                                                  200,000.01
GRE CAPITAL LLC                                 24,000.00
GRENIUS LLC
                                                                   35,000.00
HARD AF SELTZER                                 20,000.00          40,000.00
HARD TO BEAT CON...
                                                                   25,000.00
HAVEN AT LAKE CO
                                                                   30,000.00
HAWTHORNE DEVELOPMENT
                                                                   40,000.00
HAWTHORNEWORLD V
                                                                   25,000.00
HCW BIOLOGICS INC                                                  40,000.00    IDENTIFIED AS ORIGINAL ICA DEPOSITS SCH 1
HEFFNER PERFORMANCE                             12,847.52
HEGGEN LAW OFFICE                                5,180.00                       LAW OFFICE
HENRY BROWN MFP...
                                                                   50,000.00
HERITAGE FARMS M...
                                                                   25,000.00    IDENTIFIED AS THIRD PARTY BORROWER SCH 1
HIGH WEST CAPITAL                                5,200.00
HILL WARD HENDER                                 7,500.00
HITESH R PATEL
                                                                   25,000.00
HOME RENTALS COR
                                                                   20,000.00
HUDSON AND HUDSON                               10,000.00                       IDENTIFIED AS ADDITIONAL ICA DEPOSITS IN SCHEDULE 2
HUNTER MOTOR SPORT                              70,000.00                       POTENTIAL AUTOMOTIVE EXPENSE
HX5 GLOBAL LLP
                                                                  500,000.00




                                                                                                                                      2OF5
                   Case 1:24-cv-00055-MAD-CFH Document 173-1 Filed 04/18/24 Page 21 of 84


TRANSACTION DESCRTIPTION                   TOTAL DEBIT        TOTAL CREDIT                            BST COMMENTS
 INDIGO PHARMACEUTICALS                        5,300,000.00                      UNKNOWN - INSUFFICIENT INFORMATION
 INTERANTIONALGR...
                                                                     50,000.00
INTERNET TRANSFER TO /FROM DDAX5837               25,100.00                      INTERNAL TRANSFERS - TINA AND KRIS ROGLIERI
INTERNET TRANSFER TO / FROM PDA X0768            193,200.00                      UNABLE TO TRACE
INTERNETTRANSFERTO/FROM DDAx2134                 594,750.00         104,000.00   UNABLE TO TRACE
INTERNET TRANSFER TO / FROM PDA X2848          6,502,683.93        750,000.00    INTERNAL TRANSFERS - TINA AND KRIS ROGLIERI
INTERNET TRANSFER TO / FROM PDA X4465          5,511,415.00           9,500.00   TRACED TO/FROM PRIME COMMERCIAL LENDING
INTERNET TRANSFER TO / FROM PDA X4541          5,087,625.70        288,000.00    TRACED TO/FROM COMMERCIAL CAPITAL TRAINING GROUP
INVESTEX LTD
                                                                     25,000.00
ITEM 9 LABS CORP                                 465,000.00         25,000.00
JA JOHNSON                                        22,500.00
JACKSON COUNTY A...
                                                  25,785.13
JAMS INC                                           4,000.00
JARCON OPENCAST
                                                                    75,000.00
JARED SHEGGEMP...                                  2,105.00
JEFF PETERSON                                                     1,000,000.00   UNKNOWN - INSUFFICIENT INFORMATION
JIM GIRARD LANDS                                   3,817.35
JK TECHNOLOGIES                                 468,079.98
JOHNSON ELECTRIC                                  59,079.93
JPL HAWAII LLC                                                      25,000.00
KALISER AND ASSO...
                                                                    50,000.00
KARMA DEVELOPERS                                                    35,000.00
KARN BRU
                                                                    17,500.00
KEHOE NORTHWEST                                  35,000.00          35,000.00
KER VENTURES LLC                                                    75,000.00
KETAN MASTERS                                  2,200,000.00         30,000.00    IDENTIFIED AS THIRD PARTY BORROWER SCH 1
KEY STONE PARTNERS                                                 200,000.00
LAKE EDGES INVESTMENTS                                              25,000.00    IDENTIFIED AS ADDITIONAL ICA DEPOSITS IN SCHEDULE 2
LAUREN MCGEE                                      8,333.00
LAWYERS TRUST FU...
                                                                     6,110.41
LEE PALMATEER LASALE               ~               1,750.00
LEMAR INDUSTRIES                                                    35,000.00
LFP FINANCIAL LLC                                33,400.00          75,000.00
LI ONE LLC                                                          30,000.00
LODE CAPITAL                                        565.00
LUXURY BAZAAR                                   260,000.00                       LUXURY -WATCHES
MARC F DEMSHOCK                                  73,769.07
MARCJANNONE                                                         20,000.00
MARCK C DAVIS
                                                                     6,000.00
MARK PALINES                                     21,528.66
MASSON JEAN PIER                                                 1,199,982.50    UNKNOWN - INSUFFICIENT INFORMATION
MATTHEW D THACKER                             5,000,000.00          25,000.00    UNKNOWN - INSUFFICIENT INFORMATION
MIAMI VIP MARINE                                 26,250.00
MICHAELS WILDER
                                                                    17,500.00
MIKETIMKO                                         5,000.00
MIRROR LAKE CONS...
                                                 87,000.00           7,000.00
MOTOS AMERICA, I...
                                                                 3,035,000.00    IDENTIFIED AS ORIGINAL ICA DEPOSITS SCH 1
MOUNTAIN VIEW HOLDINGS                           41,014.25
MRPAULSTEPTHEN
                                                                    50,000.00
NATIONAL ADHESIVE                                                   35,000.00
NATIONAL VALUATION                               14,000.00
NEWLIGHT TECHNOLOGIES                                               40,000.00    IDENTIFIED AS ORIGINAL ICA DEPOSITS SCH 1
NEWMARK VALUATION                                 3,500.00
NEWPORT BEACH AU...                               7,500.00
NORTH SIDE BANK PANS               ~                                30,000.00
NORWELL VENTURES                              2,783,653.70                       UNKNOWN - INSUFFICIENT INFORMATION
NOVA NET LEASE
                                                                    35,000.00




                                                                                                                                       3 OF 5
                   Case 1:24-cv-00055-MAD-CFH Document 173-1 Filed 04/18/24 Page 22 of 84


TRANSACTION DESCRTIPTION                   TOTAL DEBIT        TOTAL CREDIT                            BST COMMENTS
 NUBRIDGE COMMERC...                             166,713.85                      COMMERCIAL LENDING
ONE NIGHT HOLDINGS                                                   75,000.00
ONWARD PARTNERS                                                      50,000.00   IDENTIFIED AS ORIGINAL ICA DEPOSITS SCH 1
P43 HOLDINGS LLC                                                     40,000.00
PARAGON LOFTS LLC                                                    25,000.00   IDENTIFIED AS THIRD PARTY BORROWER SCH 1
PIITECH INC                                                          35,000.00
PIPER CAPITAL FU...
                                                                 12,950,000.00   IDENTIFIED AS ADDITIONAL ICA DEPOSITS IN SCHEDULE 2
PORTSIDE CUSTOMS                                     301.65
PRESTON MEADOWS,...
                                                                     25,000.00   IDENTIFIED AS ADDITIONAL ICA DEPOSITS IN SCHEDULE 2
PRITZEDEKLLC                                                         25,000.00   IDENTIFIED AS ADDITIONAL ICA DEPOSITS IN SCHEDULE 2
PRIME CAPITAL VENTURES                              600.00        8,421,207.28   UNABLE TO TRACE
PRIME CAPITAL VENTURES -16x0095                                   4,300,000.00   TRACED TO PRIME CAPITAL VENTURES IB X0095
PRIME CAPITAL VENTURES - CITI X6945            4,991,000.00      18,155,704.93   TRACED TO/FROM PRIME CAPITAL VENTURES CITI X6945
PRINCETON DEVELOPMENT                                               75,000.00
PRIORITY TITLE A...                            3,672,067.50                      UNKNOWN - INSUFFICIENT INFORMATION
PRIORITYLEADS.COM                                  3,500.00
PRIVE PORTER BCC                                  85,000.00
PRIVY BRANDS LLC                                                    50,000.00
PRTIINC                                                             25,000.00
PV BLOCK 97 LLC                                   31,500.00         35,000.00
QUAD CITY                                       200,000.00                       UNKNOWN - INSUFFICIENT INFORMATION
RANCHO COOPOERTIO...
                                                                   700,000.00
RBC CAPITAL MARK...                                1,000.00            450.00
REDEEM 18 S MAIN...                             200,000.00                       IDENTIFIED AS ADDITIONAL ICA DEPOSITS IN SCHEDULE 2
REEVES CAPITAL M...                                   88.00
RENNTECHINC                                     110,582.24                       POTENTIAL AUTOMOTIVE EXPENSE
REV2 LLC                                         52,500.00           3,000.00
RIALPA'S WORLD S...
                                                                    75,000.00
RICHEMONT NORTH                                  60,480.00
RM AUCTIONS INC                                                    778,364.62    POTENTIAL AUTOMOTIVE EXPENSE
ROCKIES WEST FIN...                                                 75,000.00
ROCKLAND AUTO TR...                              27,150.00                       POTENTIAL AUTOMOTIVE EXPENSE
ROOTED DEVELOPMENT                                                  35,000.00
ROYAL ABSTRACT N...                              31,205.50
ROYAL BANK OF CA LOAN PMT                        57,000.00                       UNABLE TO TRACE
S2E TECHNOLOGIES                                                    24,980.00    IDENTIFIED AS ADDITIONAL ICA DEPOSITS IN SCHEDULE 2
S2T LLC                                         142,185.63
SEQUOIA EXPLORATION                                                 35,000.00
SEYBURN LAW PLLC                                333,333.33                       IDENTIFIED AS ORIGINAL ICA DEPOSITS SCH 1
SHALL DO HAYES D...
                                                                    25,000.00
SHANE WALLS OR P...
                                                                    30,000.00
SHEPPARD MULLIN                                 499,849.25                       IDENTIFIED AS THIRD PARTY BORROWER SCH 1
SHOPPING CENTER                                                     75,000.00
SIENA DEV LLC                                                       50,000.00
SINA HOSPITALITY                                                    35,000.00
SK LAW GROUP LLC                                999,999.66                       IDENTIFIED AS ADDITIONAL ICA DEPOSITS IN SCHEDULE 2
SKYLER HARTMAN                                                      25,000.00
SOUTH LAND TITLE                                400,000.00                       IDENTIFIED AS THIRD PARTY BORROWER SCH 1
SP ALPHA OPPORTUNITIES                                           1,500,000.00    IDENTIFIED AS ADDITIONAL ICA DEPOSITS IN SCHEDULE 2
SP HARBOR QOZB L...
                                                                 2,540,000.00    IDENTIFIED AS ADDITIONAL ICA DEPOSITS IN SCHEDULE 2
SPRING FOREST DU...
                                                                    50,000.00
SQRL HOLDINGS                                                    4,502,500.00    IDENTIFIED AS ADDITIONAL ICA DEPOSITS IN SCHEDULE 2
SRMGLLC
                                                                    40,000.00
STARBOARD REALTY
                                                                    55,000.00
STARSIGHT.IO INC
                                                                    75,000.00
STILLWATERS DEVELOPMENT
                                                                    25,000.00
SUMMIT EQUITIES
                                                                    45,000.00




                                                                                                                                       4OF5
                  Case 1:24-cv-00055-MAD-CFH Document 173-1 Filed 04/18/24 Page 23 of 84


TRANSACTION DESCRTIPTION                            TOTAL DEBIT         TOTAL CREDIT                            BST COMMENTS
SUPERIOR AUTO SA...                                        126,629.50                       POTENTIAL AUTOMOTIVE EXPENSE
SYRACUSE FINANICAL                                                             25,000.00
TAMPA AMTRAC ASS...                                         25,000.00
TAYLOR MULLEN                                               25,000.00
THE 450 PROJECT,...                                                            35,000.00
THE LANDING AT G...                                                            50,000.00

THE M1RADOR GROUP                                                              25,000.00
THE PECORA LLC                                                                 75,000.00

THE STARGATE GROUP                                                             50,000.00
TIMEPIECETRADING                                          670,000.00                        LUXURY -WATCHES
TIMOTHY STEVEN R...                                                            30,000.00
TRACEY AND ADAM                                              5,000.00

TRACY A BECKETT                                             28,000.00
TRADEWIND                                                   13,694.35
TRUSS FINANCIAL                                          3,225,000.00        2,000,000.00   IDENTIFIED AS ADDITIONAL ICA DEPOSITS IN SCHEDULE 2
TS WORLDWIDE LLC                                            14,000.00

UNO INVERSIONES                                             35,000.00           35,000.00

US FOOD INC                                                 54,415.88
VANQUISH INVESTMENT                                         55,000.00           55,000.00

VB ALLIANCEN A/S                                                                74,970.00
VC FUND                                                     21,418.00
VCAY.COM                                                                        35,000.00
VIKING CAPITAL M...                                          3,000.00
VISBEEN ARCHITECT                                         215,189.28                        HOME DESIGN
WARDMORAN PROPER...                                                            100,000.00
WELLS FARGO SF...                                                               50,000.00
WILLIAMSHILL...                                              3,605.26
WITHDRAWAL        0411                                   2,051,632.00                       UNABLE TO TRACE
WITHDRAWAL        1246                                       2,958.20                       UNABLE TO TRACE
WITHDRAWAL        2607                                     140,000.00                       UNABLE TO TRACE
WITHDRAWAL        4972                                       5,600.00                       UNABLE TO TRACE
WITHDRAWAL        5529                                       7,000.00                       UNABLE TO TRACE
WITHDRAWAL        6706                                      14,803.66                       UNABLE TO TRACE
WITHDRAWAL        9204                                    540,878.93                        UNABLE TO TRACE
WITHDRAWAL        2391                                     135,911.23                       UNABLE TO TRACE
WITHDRAWAL 60 BURNCRES DRIVE                                 3,036.00
WITHDRAWAL MILLER KREKLEWET                                  5,500.00
WLGT HOLDINGS LLC                                                              150,000.00

WRIST AFICIONADO                                          250,110.00                        LUXURY -WATCHES
XO GLOBAL LLC                                              556,812.00                       LUXURY - PRIVATE JETS / CHARTERED PLANES
ZY LABS LLC                                                                     20,000.00
Grand Total                                         $   80,686,458.07   $   80,686,381,73




FOOTNOTE:
IT SHOULD BE NOTED THAT SOME OF THE TRANSACTIONS SUMMARIZED ABOVE ARE MADE UP OF MULTIPLE TRANSACTIONS




                                                                                                                                                  5 OF 5
                  Case 1:24-cv-00055-MAD-CFH Document 173-1 Filed 04/18/24 Page 24 of 84


 SCHEDULES
 COMPASS -CHARLOTTE 1031 LLC v PRIME CAPITAL VENTURES LLC et al
 ENTITY - PRIME CAPITAL VENTURES LLC
 SOURCE: BANK STATEMENTS FOR CITIBANK X6945 FOR THE PERIOD 09/01/2022 - 12/31/2023 (NO ACTIVITY AFTER
                                                                                                        MAY 2023)


                  TRANSACTION DESCRIPTION                   TOTAL DEBIT       TOTAL CREDIT                            BST COMMENTS
Al DESIGN
                                                                529,587.12                     POTENTIAL AUTOMOTIVE EXPENSE
ANDREA M CLARKE
                                                                               12,291,111.70   UNKNOWN - INSUFFICIENT INFORMATION
ASPEN COMMERCIAL LENDING LLC                                    225,000.00

                                                                                               UNKNOWN ACCOUNT
 BANK OF CALIFORNIA                                             157,953.08                     BANC OF CALIFORNIA -
                                                                                               UNKNOWN ACCOUNT
BANK OF STOCKTON                                                  87,867.63                    BANK OF STOCKTON
                                                                                               IDENTIFIED AS THIRD PARTY BORROWER SCH 1
                                                                                               SHOWS ON FARMER WIRE THAT THIS WAS PAID IN FULL
BARCLAY DAMON LLP                                             3,900,000.00                     $600,000 9/27/23
                                                                                               UNKNOWN ACCOUNT
BERONE CAPITAL FUND LP                                       20,000,000.00                     SIGNATURE BANKX3581
BLOACK, LONGO, LAMARCA & BRZEZINSKI
                                                                                2,100,000.00   IDENTIFIED AS ADDITIONAL ICA DEPOSITS IN SCHEDULE 2
BOGLAN DEVELOPMENT LLC - BRADLEY PROJECT
                                                                                  300,000.00
BONHAMS BUTTERFIELDS TRUST                                    3,811,000.00                     POTENTIAL AUTOMOTIVE EXPENSE
BRANDON WHEELESS                                                  10,000.00
CAMSHAFT CAPITAL FUND LP
                                                                               11,675,000.00   IDENTIFIED AS ORIGINAL ICA DEPOSITS SCH 1
CAMSHAFT CAPITAL FUND LP - TEST WIRE
                                                                                      100.00   IDENTIFIED AS ORIGINAL ICA DEPOSITS SCH 1
CAPITAL FORD INC                                                88,247.39                      POTENTIAL AUTOMOTIVE EXPENSE
CARS USA SHIPPING                                              218,447.96                      POTENTIAL AUTOMOTIVE EXPENSE
CASSELS BROCK AND BLACKWELL LLP                                543,098.00                      CANADIAN LAW FIRM
CFR CLASSIC LLC                                                 35,251.00                      POTENTIAL AUTOMOTIVE EXPENSE
                                                                                               IDENTIFIED AS ADDITIONAL ICA DEPOSITS IN SCHEDULE 2
CHARLES WSHOFFNER-TJM PROPERTIES                                                5,000,000.00   TJM PROPERTIES, PRIME CAPITAL VENTURES LLC
CHRIS SNYDER                                                    50,000.00                      UNKNOWN - INSUFFICIENT INFORMATION
                                                                                               IDENTIFIED AS THIRD PARTY BORROWER SCH 1
                                                                                               SHOWS ON FARMER WIRE THAT THIS WAS PAID IN FULL
CHRISTOPHER B LOWE - REMITTER
                                                                                   49,000.00   $80,000 10/4/23
CJI TRADING LLC
                                                                                7,000,000.00   IDENTIFIED AS ADDITIONAL ICA DEPOSITS IN SCHEDULE 2
CLAUD M MCBRIDE                                                 50,000.00
CMTH DEVELOPMENT INC
                                                                                2,541,000.00   IDENTIFIED AS ADDITIONAL ICA DEPOSITS IN SCHEDULE 2
COM COMPANY LLC                                              2,000,000.00                      UNKNOWN - INSUFFICIENT INFORMATION
COMPASS-CHARLOTTE                                                              15,902,250.00   IDENTIFIED AS ORIGINAL ICA DEPOSITS SCH 1
DANIEL COSGROVE
                                                                                4,312,500.00   UNKNOWN - INSUFFICIENT INFORMATION
DREFIRMS                                                        25,000.00
ELLINGSON LLC                                                  275,145.00
ENTERPRISES MID-SOUTH LLC                                      250,000.00
EVE PARK LONDON                                              6,000,000.00                      IDENTIFIED AS ADDITIONAL ICA DEPOSITS IN SCHEDULE 2
EVOLT ENTERPRISES                                               50,000.00
FENIX FAM INC
                                                                15,000.00
FIELDPOINT EQUITY INFRASTRUCTURE
                                                                                 800,030.00    IDENTIFIED AS ADDITIONAL ICA DEPOSITS IN SCHEDULE 2
FIELDPOINT EQUITY LLC
                                                                                 299,850.00    IDENTIFIED AS ADDITIONAL ICA DEPOSITS IN SCHEDULE 2
FIRST FED
                                                               264,138.89
FISHER KNOX ENTERPRISES                                         40,000.00
FLINT SPRINGS LTD
                                                                                 200,000.00
FUNDING CIRCLE                                                 113,505.05
GARDINER ROBERTS LLP                                            38,552.57
GARRET B WALES - BUSINESS INVESTMENT
                                                                               1,000,000.00    IDENTIFIED AS ADDITIONAL ICA DEPOSITS IN SCHEDULE 2
GIA CAPITAL LLC                                                400,000.00                      INVESTMENT ADVISORY FIRM
G-MAN LLC                                                      340,000.00
GOTTMAN LAW PC                                               3,700,000.00                      UNKNOWN - INSUFFICIENT INFORMATION
HAWTHORNE DEVELOPMENT CORPORATION                               40,000.00




                                                                                                                                                     1OF3
                   Case 1:24-cv-00055-MAD-CFH Document 173-1 Filed 04/18/24 Page 25 of 84


              TRANSACTION DESCRIPTION                   TOTAL DEBIT       TOTAL CREDIT                                BST COMMENTS

HCW BIOLOGICS INC                                                           5,250,000.00    IDENTIFIED AS ORIGINAL ICA DEPOSITS SCH 1

HOWARD LLC                                                1,700,000.00      1,700,000.00    IDENTIFIED AS ADDITIONAL ICA DEPOSITS IN SCHEDULE 2

HUDSON & HUDSON LLC                                                         1,000,000.00    IDENTIFIED AS ADDITIONAL ICA DEPOSITS IN SCHEDULE 2

ICA DEPOSIT - ALWAYS THERE TRANSPORT CORP                                   2,600,000.00    IDENTIFIED AS ADDITIONAL ICA DEPOSITS IN SCHEDULE 2
                                                                                            IDENTIFIED AS ADDITIONAL ICA DEPOSITS IN SCHEDULE 2
ICAFORPRTZEDEK                                                               1,950,000.00   REFERS TO TRUSS FINANCIAL LLC AS PAYOR
                                                                                            IDENTIFIED AS ADDITIONAL ICA DEPOSITS IN SCHEDULE 2

ICA FOR PRESETON MEADOWS TEXAS                                               1,950,000.00   REFERS TO TRUSS FINANCIAL LLC AS PAYOR
ICA TRUST PAYMENT PER EVE PARK LONDON DEVELOPMENT                                           IDENTIFIED AS ADDITIONAL ICA DEPOSITS IN SCHEDULE 2

CREDIT AGREEEMENT                                                            5,999,975.00   REFERS TO S2E TECHNOLOGIES INC AS PAYOR
INDIGO PHARMACEUTICAL                                    10,698,750.00                      UNKNOWN - INSUFFICIENT INFORMATION
INTERACTIVE BROKERS LLC                                   5,600,000.00                      TRACED TO PRIME CAPITAL VENTURES IB X0095
ITEM 9 LABS CORP                                                              500,000.00

JHM LENDING VENTURES LLC                                                     2,200,000.00   IDENTIFIED AS ADDITIONAL ICA DEPOSITS IN SCHEDULE 2
                                                                                            IDENTIFIED AS THIRD PARTY BORROWER SCH 1
                                                                                            SHOWS ON FARMER WIRE THAT THIS WAS PAID IN FULL
KETAN MASTERS                                                                2,600,000.00   $600,000 9/26/23
                                                                                            IDENTIFIED AS THIRD PARTY BORROWER SCH 1

KINGS CO LLC - INTEREST RESERVE ON LOFTS PHASES 2 AND                                       SHOWS ON FARMER WIRE THAT THIS WAS PAID IN FULL
3 LLC LOAN                                                                   2,369,400.00   $2,369,400 9/26/23

LABORE ET HONORE LLC                                                         1,508,888.30   IDENTIFIED AS ADDITIONAL ICA DEPOSITS IN SCHEDULE 2
                                                                                            IDENTIFIED AS ADDITIONAL ICA DEPOSITS IN SCHEDULE 2

LAKES EDGE DEVELOPMENT GROUP LLC                          3,000,000.00       3,000,000.00   ALSO REFERRED TO AS "PINE RIDGE CONSTRUCTION"
MYT PHAM -LOAN CLOSING                                                       1,526,000.00   IDENTIFIED AS ADDITIONAL ICA DEPOSITS IN SCHEDULE 2
NACLB LLC                                                    20,000.00

NEW COUNTRY GROUP                                         2,055,312.00                      UNKNOWN - INSUFFICIENT INFORMATION
NEWLIGHT TECHNOLOGIES INC                                                    2,500,000.00   IDENTIFIED AS ORIGINAL ICA DEPOSITS SCH 1
                                                                                            UNKNOWN - INSUFFICIENT INFORMATION
NORWELL VENTURES                                            300,000.00                      INVESTMENT FIRM

ONWARD HOLDINGS LLC                                       5,000,000.00                      IDENTIFIED AS ADDITIONAL ICA DEPOSITS IN SCHEDULE 2

ONWARD PARTNERS                                                              6,200,000.00   IDENTIFIED AS ORIGINAL ICA DEPOSITS SCH 1
                                                                                            IDENTIFIED AS ADDITIONAL ICA DEPOSITS IN SCHEDULE 2

PARTIAL ICA FUNDS FOR 18 S MAIN STREET PROPERTY - THE                                       SHOWS ON FARMER WIRE THAT THIS WAS PAID IN FULL

LION GROUP DFW LLC                                                           1,000,000.00   $800,000 9/26/23
                                                                                            LUXURY - WATCHES - Kris had purchased watch and has since
                                                                                            turned the watch over by his attorney to the Receiver. Receiver
PLATINUM TIMES LLC                                        2,225,000.00                      is in receipt of watch.
                                                                                            UNABLE TO TRACE

PRIME CAPITAL ADVENTURES LLC - UNSPECIFIED                                     500,000.00   REFERS TO BOWDEN DOUGLAS AND WELLS FARGO


PRIME CAPITAL VENTURES - HEADE PORATION TRUST CENTER       5,040,000.00      5,040,000.00   UNABLE TO TRACE


PRIME CAPITAL VENTURES - HEADE PORATION TRUST CENTER                           999,950.00   UNABLE TO TRACE

PRIME CAPITAL VENTURES - KEYBANK X2233                    18,155,704.93      4,991,000.00   TRACED TO KEYBANK X2233

PRIME CAPITAL VENTURES - KEYBANK X4465                      121,478.00                      TRACED TO KEYBANK X4465

PRIME CAPITAL VENTURES - OPERA CORPORATION TRUST                                            UNKNOWN ACCOUNT

CENTER CITI X6953                                         12,049,925.00                     CITI X6953

PRIME CAPITAL VENTURES - OPERA NULL CORPORATION                                             UNKNOWN ACCOUNT

TRUST CENTER CITI X6953                                                      7,371,988.00   CITI X6953
                                                                                            UNKNOWN ACCOUNT

PRIME CAPITAL VENTURES - SHORE UNITED BANK X6661              50,000.00                     SHORE UNITED BANK X6661
                                                                                            UNKNOWN ACCOUNT

PRIME CAPITAL VENTURES - WELLS FARGO X1058                 5,000,000.00                     WELLS FARGO X1058

PRIORITY TITLE AND ESCROW                                    100,000.00                     UNKNOWN - INSUFFICIENT INFORMATION
PROCOIN LIMITED                                                1,371.00

QUAD CITY BANK AND TRUST COMPANY                           3,094,000.00                      UNKNOWN - INSUFFICIENT INFORMATION

RM AUCTIONS                                                2,000,000.00                      POTENTIAL AUTOMOTIVE EXPENSE




                                                                                                                                                         2OF3
                 Case 1:24-cv-00055-MAD-CFH Document 173-1 Filed 04/18/24 Page 26 of 84


                TRANSACTION DESCRIPTION               TOTAL DEBIT        TOTAL CREDIT                          BST COMMENTS

RM AUCTIONS LIMITED - REFUND OVERPAYMENT                                      21,001.02    POTENTIAL AUTOMOTIVE EXPENSE

RM INC                                                  2,337,710.00                       UNKNOWN - INSUFFICIENT INFORMATION

RM LTD                                                  4,729,745.00                       UNKNOWN - INSUFFICIENT INFORMATION

ROBERT B STRUM                                                              2,000,000.00   UNKNOWN - INSUFFICIENT INFORMATION

SCOTT HENDRICKS                                           197,898.00

SCOTT OLIVER LAW                                        4,688,908.00                       POTENTIAL AUTOMOTIVE EXPENSE

SEA BEACH CAPITAL                                          30,000.00

SELECT PORTFOLIO SERVICING                                 63,773.83

SEYBURN LAW PLLC                                        1,200,000.00                       IDENTIFIED AS ADDITIONAL ICA DEPOSITS IN SCHEDULE 2

SK LAW GROUP PLLC - HERITAGE FARM LOAN                                      2,400,000.00   IDENTIFIED AS ADDITIONAL ICA DEPOSITS IN SCHEDULE 2

SRA-CH RICHLAND II LLC                                                      3,000,000.00   IDENTIFIED AS ADDITIONAL ICA DEPOSITS IN SCHEDULE 2

SUELLEN LESTER                                                                400,000.00

TIMEPIECE TRADING LLC                                                         125,000.00   LUXURY -WATCHES

TOPGEAR LLC                                              1,300,000.00                      POTENTIAL AUTOMOTIVE EXPENSE

TRUSS FINANCIAL LLC                                      6,500,000.00       2,590,000.00   IDENTIFIED AS ADDITIONAL ICA DEPOSITS IN SCHEDULE 2

U.S. DOLLAR ACCOUNT SERVICE FEES                              715.19

WAYNAR SCHMIDT - BRIDGE LOAN FOR ANVIL MECHANICAL
INC                                                                         2,000,000.00   IDENTIFIED AS ADDITIONAL ICA DEPOSITS IN SCHEDULE 2

WILSHIRE FINANCE PARTNERS INC                            1,692,663.17                      UNKNOWN - INSUFFICIENT INFORMATION

WIRE TRANSFER - RETURNING YOUR SSN                                          2,344,409.00   IDENTIFIED AS ADDITIONAL ICA DEPOSITS IN SCHEDULE 2

WRIST AFICIONADO                                          368,000.00                       LUXURY -WATCHES

XO GLOBAL LLC                                             278,320.00                       LUXURY - PRIVATE JETS / CHARTERED PLANES

ZELLER INVESTMENT LLC                                                       2,500,000.00   IDENTIFIED AS ADDITIONAL ICA DEPOSITS IN SCHEDULE 2

Grand Total                                         $ 142,857,067.81    $ 143,608,453.02




FOOTNOTE:
IT SHOULD BE NOTED THAT SOME OF THE TRANSACTIONS SUMMARIZED ABOVE ARE MADE UP OF MULTIPLE TRANSACTIONS




                                                                                                                                                 3 OF 3
                 Case 1:24-cv-00055-MAD-CFH Document 173-1 Filed 04/18/24 Page 27 of 84


SCHEDULE 6
COMPASS -CHARLOTTE 1031 LLC v PRIME CAPITAL VENTURES LLC et al
ENTITY - BERONE CAPITAL FUND LP

SOURCE: ACCOUNT STATEMENTS FOR RBC X0011 FOR THE PERIOD 5/1/2022 TO 12/31/2023


              TRANSACTION DESCRIPTION                      TOTAL DEBIT           TOTAL CREDIT                        BST COMMENTS
ALEXANDER CAPITAL VENTURES                                   1,000,000.00                         UNKNOWN - INSUFFICIENT INFORMATION
BERONE CAPITAL FUND LP TO/FROM FLAGSTAR X3727               10,527,390.42                         TRACED TO BERONE CAPITAL FUND FLAGSTAR X3727
BO1S D'ARC                                                       50,000.00
CHECK RECEIVED                                                                        73,847.53
GERMAN AMER         RETURN Wl, BNF ACCT MISMATCH                                      50,000.00
LATE STAGE INVESTMENT FUND                                     100,002.50
MARTIN KARO ESQ IOLTA                                        6,000,000.00                         UNKNOWN - INSUFFICIENT INFORMATION
MATTHEW CUMMINGS                                                 50,000.00
PHOENIX AMERICAN                                             1,700,000.00                         UNKNOWN - INSUFFICIENT INFORMATION
PRIME CAPITAL VENTURES LLC   TO/FROM KEYBANK X2233           1,865,000.00                         TRACED TO PRIME CAPITAL VENTURES LLC KEYBANK X2233
SIGNATURE BANK NY                                                                 21,000,000.00   UNABLE TO TRACE
SIGNATURE BANK NY - FROM BCF FLAGSTAR X3727                                          441,303.00   TRACED FROM BERONE CAPITAL FUND LP FLAGSTAR X3727
Grand Total                                            $    21,292,392.92    $    21,565,150.53




FOOTNOTE:
IT SHOULD BE NOTED THAT SOME OF THE TRANSACTIONS SUMMARIZED ABOVE ARE MADE UP OF MULTIPLE TRANSACTIONS




                                                                                                                                                   1OF1
                 Case 1:24-cv-00055-MAD-CFH Document 173-1 Filed 04/18/24 Page 28 of 84


SCHEDULE 7
COMPASS -CHARLOTTE 1031 LLC v PRIME CAPITAL VENTURES LLC et al
ENTITY - BERONE CAPITAL FUND LP

SOURCE: BANK STATEMENTS FOR FLAGSTAR X3727 FOR THE PERIOD 6/1/2022 TO 12/31/2023



                TRANSACTION DESCRIPTION                    TOTAL DEBITS          TOTAL CREDITS                         BST COMMENTS
ALEXANDER STONE                                        $          5,000.00
AMY RICART DE RUIS                                               30,000.00
ANA MULTA RUIZ                                                    3,742.72
LUXURY -PURCHASES                                              154,000.00                          LUXURY- PURCHASES
POTENTIAL AUTOMOTIVE EXPENSE                                   690,909.03                          POTENTIAL AUTOMOTIVE EXPENSE
BANK OF AMERICA                                                                        14,955.00   UNABLE TO TRACE
BENEFICIARY TRANSIT NUMBER                                        1,950.00
BERONE CAPITAL FUND LP                                                              5,900,000.00   THIS CAME FROM AN UNKNOWN ACCOUNT
BERONE CAPITAL FUND LP TO/FROM RBC xOOll                       441,303.00          10,527,390.42 TRACED TO/FROM BERONE CAPITAL FUND LP RBC xOOll
BERONE CAPITAL FUND LP TO/FROM TDX1876                       1,326,288.34                          TRACED TO/FROM BERONE CAPITAL LLC TD X1876
CAROY GROUP, S.R. L.                                              4,108.71

DANILO MUSIC SRL                                                 36,010.37
DEPOSIT                                                                              330,000.00    UNABLE TO TRACE
EDGAR JOEL URENA DIAZ                                             3,087.00
FLORIDA A M UNIVERSITY FOUNDATION                              120,000.00
FOWLER O'QUINN FEENEY AND SNEED                                219,593.00                          LAW FIRM
HUGOPOL CONSTRUCCIONES SRL.                                       2,750.00
ID TECH LLC                                                      33,300.00
JACKSON STATE UNIVERSITY                                       120,000.00
LUXURY - PRIVATE JETS / CHARTERED PLANES                       100,000.00                          LUXURY - PRIVATE JETS / CHARTERED PLANES
LISANDERLARA PENA                                                 1,652.00
MARCELLA MCCRAKIN                                                15,000.00

                                                                                                   UNKNOWN - INSUFFICIENT INFORMATION
                                                                                                   2 OUTGOING WIRES OF $5,900,000
MARTIN KARO, ESQ IOLTA                                      11,800,000.00                          EACH TO CHASE X0137 AND X3169
OMEGA 14 INC                                                   300,000.00
ONLINE TRANSFER TO X5292                                         19,193.00                         BERONE CAPITAL FUND LP FLAGSTAR X5292
PBL5JS HOLDINGS INC                                            110,900.00
PHOENIX AMERICAN FINANCIAL SERVICE                             850,000.00                          UNKNOWN - INSUFFICIENT INFORMATION
PRESLEY JUNIOR VASQUEZ                                            2,750.00

PURE 100, SRL                                                  212,418.80
REGISTRATION (RNC) NUM X5711                                      6,060.00
ROLLING STONE MEDIA LLC                                          12,600.00

TROPICAL REALTY PC SRL                                         149,729.45
Grand Total                                            $    16,772,345.42    $     16,772,345.42




FOOTNOTE:
IT SHOULD BE NOTED THAT SOME OFTHE TRANSACTIONS SUMMARIZED ABOVE ARE MADE UP OF MULTIPLE TRANSACTIONS




                                                                                                                                                   1OF1
              Case 1:24-cv-00055-MAD-CFH Document 173-1 Filed 04/18/24 Page 29 of 84


SCHEDULES
COMPASS -CHARLOTTE 1031 LLC V PRIME CAPITAL VENTURES LLC et al
BERONE CAPITAL LLC
SOURCE: BANK STATEMENTS FOR TD BANKX1876 FOR THE PERIOD 1/1/2022 TO 12/31/2023


                TRANSACTION DESCRIPTION                     TOTAL DEBITS      TOTAL CREDITS                          BST COMMENTS

ATM WITHDRAWAL                                                   20,049.37                       UNABLE TO TRACE

POTENTIAL AUTOMOTIVE EXPENSE                                     63,718.39                       POTENTIAL AUTOMOTIVE EXPENSE

AUTOMOTIVE EXPENSES                                              19,599.96          22,350.00

BANK OF AM ERICA                                                  4,000.00

BELLON BAVARO                                                       560.27

BERONE CAPITAL L -ACH SETTLEMENT                                 10,200.00          10,200.00

BERONE CAPITAL L                                                 36,017.60                       UNABLE TO TRACE

BLOOMBERG FINANCE LP                                             25,563.40

CAPITAL FUND LAW GROUP                                              470.00

CAPITAL ONE                                                         683.98

CEPM PLAZA FRIUSA                                                 1,555.45

CHRISTOPHER BLANDING                                              5,500.00

CLARO CAC PUNTA CANA                                                614.69

COMCAST                                                           5,062.78

COMERCIAL DANNY                                                    1,231.72

CREDIT CARD                                                      63,866.76

DEBIT                                                            14,000.00                       UNABLE TO TRACE

DELAWARE DMV                                                     12,069.00

DEPOSIT                                                                              3,353.00

DINING - FOOD                                                      6,824.07

ENTERTAINMENT                                                     15,552.00

FABIAN STONE                                                     30,000.00          30,000.00

FINRA                                                               590.00

IN STATE POLICE SEARCH                                                16.32

INVER HOSKING                                                       299.18

J W LEE INC                                                        1,900.00

JEREMIAH BEGUESSE                                                  5,000.00

KYRAA LYNN ESQ                                                     1,040.00                      LAW OFFICE

LIGHTHOUSE LIFE CAPITAL, LLC                                     199,500.00                      BUYS LIFE INSURANCE POLICIES

LIGHTHOUSE LIFE DISTRIP                                                              5,950.00

LIZBETH MAYORGA                                                   60,000.00

LOLELIFE                                                             145.52

LUXURY- PURCHASES                                                  4,699.90                      LUXURY -PURCHASES

MARBA DOMINICANA                                                   4,118.32

NICHOLAS A LOTITO IOLTA                                           10,000.00

PAFS-LHL1 DISTRIB.                                                                  11,900.00

PANDA DOCE CLUB                                                      308.31

PERSONAL EXPENSE                                                  20,211.70          2,434.82    PERSONAL -EXPENSES

PRESLEY VASQUEZIAT                                                   704.99

PRICELINE TVL PROTECT                                                 78.00             78.00

PROVISIONAL CREDIT                                                                    1,538.24

PUBLIC STORAGE                                                     2,200.00

QT713                                                                128.92

RBC CAPITAL MARK RBC I                                                              48,753.13

THE SET ENTERPRISES                                                  406.00

BERONE CAPITAL LLC TDX6689                                       623,783.36        148,966.05    BERONE CAPITAL TDX6689

TRANSFER TO / FROM TD CHECKING X6800                               6,797.10           5,530.00   UNABLE TO TRACE

BERONE CAPITAL LLC TD X7006                                      357,371.62          15,000.00   BERONE CAPITAL LLCTDX7006

BERONE CAPITAL FUND LP FLAGSTAR X3727                                             1,326,288.34   BERONE CAPITAL FUND LP FLAGSTAR X3727

PERSONAL -TRAVEL                                                  24,869.49                      PERSONAL -TRAVEL

TWIN PEAKS                                                           305.66

VITRINAS RAQUEL                                                    1,355.87~|~
Grand Total                                             $      1,662,969.70   $   1,632,341.58



FOOTNOTE;
IT SHOULD BE NOTED THAT SOME OF THE TRANSACTIONS SUMMARIZED ABOVE ARE MADE UP OF MULTIPLE TRANSACTIONS




                                                                                                                                         1OF1
                  Case 1:24-cv-00055-MAD-CFH Document 173-1 Filed 04/18/24 Page 30 of 84


SCHEDULES
COMPASS -CHARLOTTE 1031 LLC v PRIME CAPITAL VENTURES LLC et al
ENTITY - PRIME COMMERCIAL LENDING
SOURCE: BANK STATEMENTS FOR KEYBANK X4465 FOR THE PERIOD 3/1/2022 TO 12/31/2023


                TRANSACTION DESCRIPTION                  TOTAL DEBIT         TOTAL CREDIT                        BST COMMENTS
18 SIERRA FINANCE                                                 9,520.50
677 PRIME                                                          407.80
9 MAPLE AVE                                                        197.75
AACFB                                                             1,798.00
ADVENTURE COMMER                                                  3,920.00
ALL PURPOSE LEND                                                  7,500.00
ALTA COMMERCIAL                                                    540.00
AMBRO MANU                                                       22,938.77

AMBROSIA DINER                                                       85.68
AMERICAN-FINANCE                                                 12,000.00

ANDERSON CAPITAL                                                    160.00
ANDREW ALTSCHULE                                                   800.00
ARF FINANCIAL                                                                     12,710.54

ASCENT LAW LLC                                                     300.00
ASPEN CAPITAL                                                    55,890.00
ATLAS FINANCE SO                                                  1,224.00
ATM                                                                408.00
POTENTIAL AUTOMOTIVE EXPENSE                                     98,805.43                    POTENTIAL AUTOMOTIVE EXPENSE

AUTOMOTIVE EXPENSE                                                 916.95                     CAR EXPENSE - GAS AND WASH
B2B FINANCING                                                                      3,500.00

BANC OF CALIFORNIA                                                5,531.46
BAYVIEW ASSET                                                                     46,711.50
BEDFORD FINANCIAL                                                  600.00
BHB FUNDING                                                       6,250.00        51,225.00
BK AMER NYC                                                                       11,496.00
BLESSING CAPITAL                                                  1,372.50

BRANDON WHEELESS                                                 25,000.00

BRIGHTVIEW COMME                                                 12,540.00
CAPITAL PARTNERS                                                                 214,348.52
CAPITALAX LLC                                                     2,000.00

CHARIS COMMERICAL                                                 8,050.00

CHARLES ANDERSON                                                 16,720.00
CHICAGO TITLE CO                                                                   2,956.80
CISION-PRNE                                                         905.00
CLEARPOINT CAPIT                                                  1,000.00

COLLECTION PAYMENTS                                                 876.60

COMMERCIAL CAPIT                                                  5,193.00
COOK KEITH DAVI                                                   1,700.82
CORELOGIC CREDC                                                   8,903.54

COTE KOREAN STE                                                   4,058.50
COTE MIAMI                                                        4,320.00
CPH LLC                                                    2,000,000.00                       UNKNOWN - INSUFFICIENT INFORMATION
CROSS COMMERCIAL                                                  9,405.00

CTI CHICAGO METR                                                                  24,853.13
CULLEN AND DYKMA                                                 75,000.00                    LAW FIRM
DAL COMMERCIAL C                                                 14,400.00

DELAWARE CORP &                                                     300.00

DEPOSIT                                                                           60,915.00
DIFFERENT DRUMM ALBANY                                              867.75
DINING -FOOD                                                     20,188.91

DORRA FINANCIAL                                                     500.00

EAST SIDE LOUNG                                                     162.32




                                                                                                                                   1OF4
                   Case 1:24-cv-00055-MAD-CFH Document 173-1 Filed 04/18/24 Page 31 of 84


                TRANSACTION DESCRIPTION               TOTAL DEBIT      TOTAL CREDIT                          BST COMMENTS

ELEVATE CAPITAL                                           10,768.00

ENTERPRISE FUNDING                                         3,160.00

ERIK J MARTIN                                              7,068.32

EXA JOE'S KWIK MARTS                                         105.67

EXOTICARE                                                    550.00

EXPRESS TRA SAINT LOUIS                                     1,438.80

FAINE ENTERPRISES                                            700.00

FALL CREEK FINAN                                            2,934.00

FEDERAL RESERVE                                                              1,452.40

FIRST INTERNATIO                                                             2,340.00

FISCHER KNOX ENT                                            9,728.53

FUN MONEY VENTURES                                           700.00

FUNDATIONOPS                                                                 2,084.53

GARY LOCKWOOD                                              23,517.83

GEMINI TITLE AND                                                            15,040.00

GLOBAL PRIVATE                                               252.37

GOOP MAUNA LANI WAIMEA                                        110.77

GOTHAM ABSTRACT                                                              6,100.00

GRAFTON FUNDING                                              480.00

GREENLIGHT COMME                                             750.00

HEART PINE CAPITAL                                            360.00

HOGAN LOVELLS                                             400,000,00                     LAW FIRM

IAN TUCKER MANAGEMENT                                       1,920.00

INIFINITY LENDING                                           5,300.00

INTERNAL                                                1,378,047.05                     UNABLE TO TRACE

TINA AND KRIS ROGLIERI KEYBANKX2848                        51,700.00       433,924.90 TINA AND KRIS ROGLIERI JOINT KEYBANKX2848

INTERNET TRANSFER TO/FROM DDAx0768                         23,450.00          7,500.00   UNABLE TO TRACE

INTERNET TRANSFER TO/FROM PDA X2134                        32,000.00        62,100.00    UNABLE TO TRACE

PRIME CAPITAL VENTURES KEYBANK X2233                        9,500.00      5,511,415.00   PRIME CAPITAL VENTURES KEYBANK X2233

COMMERCIAL CAPITAL TRAINING GROUP LLC KEYBANK X4541       397,000.00         82,000.00   COMMERCIAL CAPITAL TRAINING GROUP LLC KEYBANK x4541

TINA AND KRIS ROGLIERI KEYBANK X5837                       18,000.00                     TINA AND KRIS ROGLIERI JOINT KEYBANK X5837

J AND S FINANCIA                                            1,200.00

JADE EMERALD CAP                                              680.00

JAMES A FAUCI AT                                            3,000.00

JEFFREY J. WALKE                                                              3,000.00

JHF CAPITAL                                                12,100.00

KEY MERCHANT                                               10,080.89         87,190.00

LAUREN MCGEE                                               15,666.00

LAW OFFCIEOFSC                                                                3,827.00

LEE PALMATEER LASALE                                          950.00

LNS GROUP LLC                                              45,500.00            240.00

LODE CAPITAL LLC                                           18,000.00

LOPORTORISTORATROY                                            603.48

LOTUS COMMERCIAL                                           10,000.00

LUXURY - PRIVATE JETS / CHARTERED PLANES                  101,000.00                     PRIVATE JETS AND CHARTERED PLANES

LUXURY -PURCHASES                                         178,579.90                     LUXURY PURCHASES

LUXURY -WATCHES                                           111,000.00                     LUXURY WATCHES

MC HOTEL NETWO EASYSAVINGS                                                        9.72

MEANS COMMERCIAL                                            5,000.00

 MERCHBNKCDNSDFEE                                              95.55

 MERIT TITLE LLC                                                              2,556.00

 MICHAEL A REED                                                               3,695.00

 MIRROR LAKE CONS                                           7,000.00

 MONTEREY COMMERC                                          10,800.00

 NEW ANGLE CAPITA                                             526.00            526.00

 NEWCOAST CAPITAL                                             308.66

 NORTHERN TITLE A                                                            10,100.00




                                                                                                                                          2OF4
                   Case 1:24-cv-00055-MAD-CFH Document 173-1 Filed 04/18/24 Page 32 of 84


                TRANSACTION DESCRIPTION     TOTAL DEBIT       TOTAL CREDIT                         BST COMMENTS

NORTHFIELD REALT                                   329.00             329.00

NUSRET NEW YORK                                  3,065.86

OAKMONT COMMERCI                                                   34,073.80

OCEANVIEW ACQUISITION                                              31,625.76

OCEANVIEW LIFE A                                                    9,180.00

ONE FUNDER INC                                                     63,800.00

ONELAKESIDE ASPEN                                  558.94

ORYX CAPITAL SOL                                   450.00

OTIS ATGRPH MAR                                   1,231.41

OUTDOOR FINANCIAL                                 2,221.93

OUTSIDE THE BOX                                   1,650.00

PAC WESTERN FINANCIAL                             1,564.00

PARRISH FUNDING                                    520.00

PARSONSKELLOGG                                    4,335.00

PAYPAL -ACCESS                                     297.00

PAYPAL -FATJOE                                     101.99

PAYPAL -VALUECA                                   7,329.98

PEARL TOWER ASSO                                 27,946.10

PENSION PROS                                       500,00

PERSONAL -TRAVEL                                112,695.23          3,759.25    PERSONAL TRAVEL EXPENSES

PET EXPENSES                                       365.50

POSTED ITEM CORRECTION                                              4,095.00

PRIME CAPITAL VENTURE CITI X6945                                  121,478.00    TRACED TO PCV CITIBANK X6945

PRIME COMMERCIAL                                                    1,500.00

PRIME COMMERCIAL LENDING MRCH SRV                   236.39

PRIVATE CAPITAL                                   1,300.00

PRIVATE CLIENT C                                  1,500.00

PROSPER FIRST FU                                  4,620.00

PURCHASES - ELECTRONICS                              86.38

PURCHASES -PERSONAL                               1,389.91

QUAINT OAK BANK                                                     11,500.00

QUEENSBURY                                          529.65

RAM CAPITAL SOLU                                    940.00

RED ROCK ADV RO LAS VEGAS                         2,032.87

REEVES CAPITAL                                   13,386.00

RENNERT VOGEL                                                      42,675.00

RES TITLE INC                                                       18,680.00

REXFORD COMMERCI                                    450.00

RIGHT COMMERCIAL                                  1,500.00

ROBERT CROSS                                      1,502.00

ROTAY CAPITAL Fl                                  2,000.00

ROYALL CAPITAL F                                    990.00

RUSTWOOD CAPITAL                                  2,341.00

SAIF DAGHESTANI                                     585.00

SARATOGA CAPITAL                                 84,327.30                      ASSET MANAGEMENT GROUP

SBF FINANCE AND                                  18,400.00

SERVICELINK                                                         14,050.00

SILVERHILL FUND                                  84,065.00           8,940.00   FINANCE BROKERS (LOCATED IN FL)

SPARTAN BUSINESS                                                    29,600.00

SPARTAN TOWING C                                 12,345.00

SPEARING                                            285.00

SPEED FUNDING                                     4,500.00

SPEEDWAY                                            197.49

SQUARE INC                                            0.01          12,953.18

STEVENSON CAPITA                                  3,192.00

STRIPE                                                              28,310.08

SUPERIOR EXECUT                                    1,082.53




                                                                                                                  3OF4
                  Case 1:24-cv-00055-MAD-CFH Document 173-1 Filed 04/18/24 Page 33 of 84


                 TRANSACTION DESCRIPTION                 TOTAL DEBIT          TOTAL CREDIT               BST COMMENTS

THE NEW YORK RA                                                 972.00

THE NORTH DAKOTA                                                                    5,747.00

TITANIUM CAPITAL                                               3,600.00

TONY FERRI                                                     1,620.00

TREVOR COLE COMM                                               6,750.00

TRIPLE CAPITAL                                                18,901.50

TSALACH LLC                                                   11,718.50

USILIACS DBA TITA                                              4,000.00

VALERO 7 ELEVEN KING CITY                                         60.43

VALUE ASSIST CAP                                                502.00

VANTAGE                                                                            34,584.23

WF PERIGO                                                                           2,118.60

WKI*CTCORPORATI                                                1,569.00

Grand Total                                          $     5,813,529.00   $     7,142,815.94




FOOTNOTE:
IT SHOULD BE NOTED THAT SOME OF THE TRANSACTIONS SUMMARIZED ABOVE ARE MADE UP OF MULTIPLE TRANSACTIONS




                                                                                                                        4 OF 4
Case 1:24-cv-00055-MAD-CFH Document 173-1 Filed 04/18/24 Page 34 of 84




                      EXHIBIT "B"
    Case 1:24-cv-00055-MAD-CFH Document 173-1 Filed 04/18/24 Page 35 of 84


                                                                          Paul A. Levine, Member


LemeryGreislerLLC
ATTORNEYS                AT       LAW
                                                                          plevine@lemeryqreisler.com
                                                                          Ph: (518) 433-8800 ext. 313




                                             March 25, 2024


 VIA E-MAIL
 TMcnamara@certilmanbalin.com


 Thomas J. McNamara, Esq.
 Certilman Balin Adler & Hyman, LLP
 90 Merrick Avenue - 9lh Floor
 East Meadow, New York 11554


       Re:     Compass-Charlotte 1031, LLC v. Prime Capital Ventures, LLC, et al.
               24-cv-00055


 Dear Tom:


       Please have your clients produce for me:


        1.     All documents in their possession relating to the investments set forth on the
               schedule sent to me which I attached as Exhibit “5” to my declaration in
               opposition to your motion to vacate the receivership as to Berone including
               account statements, prospectuses, and any other documents that would allow me
               to investigate how to liquidate the investments.


       2.      All paper banking records relating to the Berone Defendants.


       3.      All financial records as to the Berone Defendants such as, but not limited to,
              profit and loss statements, check registers, income and expense statements and
              balance sheets.


       4.     All email communications, text messages and any other correspondence with
               Prime Capital Ventures, LLC, Kris Roglieri and / or Kimberly Humphrey.


       5.     The titles, registrations and proof of insurance, as well as the location, for the
               Ferrari and Rolls Royce.




                                                                                        677 Broadway, Sth Floor
                                                                                        Albany, New York 12207
                                                                                                 518.433.8000


                                                                                  www.LemeryGreisler.com
   Case 1:24-cv-00055-MAD-CFH Document 173-1 Filed 04/18/24 Page 36 of 84




March 25, 2024
Page -2-




       6.    Records of all funds received by Berone from Prime Capital Ventures, LLC.


       7.    Records of all funds received by Berone from Prime Capital Ventures, LLC that
             were transferred elsewhere including, but not limited to, Reign and / or Martin
             Karo.


       8.    The physical location of the “basement” office you referenced at the court
             hearing, who owns the property and how I may obtain access for purposes of
             inspecting and taking possession of records.


       9.    Any communications from any Berone client indicating that the Receivership is
             or has created an impediment to their account and, if any losses are claimed,
             provide supporting documentation quantifying and evidencing the loss. As I said
             in my papers in opposition to the motion and at court, I am prepared to work with
             your clients so that its unrelated clients are not prejudiced. If they wish to do this,
             please provide this information and contact me.


       10.   All records related to the Berone Defendants opening of any accounts for Prime
             Capital Ventures, LLC.


       11.   All documents relating to the Berone Defendants' due diligence process for
             vetting clients or investors, and all due diligence performed relating to Prime
             Capital Ventures, LLC or Kris Roglieri.


       12.   Any records of compliance procedures, internal audits, or investigations related to
             Prime Capital Ventures, LLC’s accounts or transactions.


       13.   Detailed logs or records of all transactions conducted on behalf of Prime Capital
             Ventures, LLC, including dates, amounts, counterparties, and any associated fees
             or charges.


      14.    Any risk assessments or evaluations conducted by the investment firm regarding
             Prime Capital Ventures, LLC 's investment profile, risk tolerance, and suitability
             for certain investment products or strategies.


      15.    Electronic audit trails or logs documenting user activity and system access related
             to Prime Capital Ventures, LLC's account.
      Case 1:24-cv-00055-MAD-CFH Document 173-1 Filed 04/18/24 Page 37 of 84




March 25, 2024
Page -3-




        16.    Any agreements or arrangements between the Berone Defendants and third parties
               (such as other financial institutions, advisors, or service providers) that may be
               relevant to Prime Capital Ventures, LLC's accounts or transaction.


        Given that I need to file a report with the Court on or before April 1 8th, I request your
clients’ prompt response to these requests.


                                              Very truly yours,


                                        LEMERY            LER LLC




                                              Paul A. Levine


PAL-.ph
cc:     William Esser, Esq. (Via E-mail)
Case 1:24-cv-00055-MAD-CFH Document 173-1 Filed 04/18/24 Page 38 of 84




                       EXHIBIT "C"
      Case 1:24-cv-00055-MAD-CFH Document 173-1 Filed 04/18/24 Page 39 of 84



To:               Paul A. Levine, Lemery Greisler LLC
From:             Berone Defendants


        This is in response to the Receiver’s request for information and documents contained in

the Receiver’s letter to Berone’s counsel dated March 25, 2024. For ease of reference, I have

reiterated the requests below using the same numbering given in the letter, and Berone’s responses


to each request follow directly below:


Request #1:       All documents in their possession relating to the investments set forth on the

schedule sent to me which I attached as Exhibit “5” to my declaration in opposition to your motion

to vacate the receivership as to Berone including account statements, prospectuses, and any other

documents that would allow me to investigate how to liquidate the investments.


        Response to #1 : There is another investor that is subscribed to Berone Capital Fund LP:


“P. Holdings” (name redacted to protect investor identity), who made an initial investment of

$1,000,000.00.' Attempting to liquidate this investment would cause proportional damage to this

investor, that has nothing to do with Plaintiffs ICA deposit or Prime Capital Ventures. As per the

liquidation, there is a legitimate process to follow based on the contractual obligations between

Berone Capital Fund LP and the various Administrators so as not to cause harm to another investor


in the Fund. See Exhibit A attached.


Request #2:       All paper banking records relating to the Berone Defendants.


         Response to #2: We never received paper bank statements and relied entirely on electronic


access for banking records. As a result of the Receivership Order, we can no longer access those

electronic records via online banking portals. The Receiver is already in possession of TD Bank




1 Unredacted names will be provided upon agreement of Receiver not to file them publicly, in order to preserve
client/investor privacy.
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       Case 1:24-cv-00055-MAD-CFH Document 173-1 Filed 04/18/24 Page 40 of 84



statements and Signature Bank statements. In fact, our relationship with TD Bank was terminated


as a result of the Receivership. See Exhibit B attached.


Request #3 :   All financial records as to the Berone Defendants such as, but not limited to, profit


and loss statements, check registers, income and expense statements and balance sheets.


        Response to #3: All access to financial portals, where we would obtain copies of such


financial records, has been terminated due to the appointment of a Receiver. Please refer to RBC


Capital Market, Signature Bank and TD Bank documents already in the Receiver’s possession.


See the attached Exhibit C for records of overdue notices and collections actions.


Request #4:    All email communications, text messages and any other correspondence with Prime


Capital Ventures, LLC, Kris Roglieri and / or Kimberly Humphrey.


        Response to #4:       Attached at Exhibit D are text message and email communications.


Request #5:    The titles, registrations and proof of insurance, as well as the location, for the


Ferrari and Rolls Royce.


        Response to #5:       There is no proof of insurance as it has not been paid since the


appointment of Receiver. The vehicles were not purchased with Prime’s money; they were


purchased from amounts which Berone earned as fees and expenses. See the attached Exhibit E


for documents regarding the unpaid insurance.


Request #6:    Records of all funds received by Berone from Prime Capital Ventures, LLC.


        Response to #6:       Without any access to our online banking portal, please rely on the


Signature Bank, TD Bank and RBC Capital Market statements in the Receiver’s possession to


verify that only $20M was ever received by Berone Capital Fund LP from Prime Capital Ventures,


LLC.




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     Case 1:24-cv-00055-MAD-CFH Document 173-1 Filed 04/18/24 Page 41 of 84



Request #7:    Records of all funds received by Berone from Prime Capital Ventures, LLC that


were transferred elsewhere including, but not limited to, Reign and / or Martin Karo.


       Response to #7:         No funds were transferred by Berone Capital Fund LP elsewhere on


behalf of Prime Capital Ventures. Transfers were made on the request of Prime Capital Ventures


through its RBC entity account in the name of Prime Capital Ventures. See attached at Exhibit F.


Request #8:    The physical location of the "basement" office you referenced at the court hearing,


who owns the property and how I may obtain access for purposes of inspecting and taking


possession of records


       Response to #8:         We have entirely lost the use of this home office due to the inability


to pay for utilities to service this office. As a result, the books and records are now maintained at


my apartment in Miramar, Florida. Attached as Exhibit G are our home office overdue notices.


Request #9:    Any communications from any Berone client indicating that the Receivership is or


has created an impediment to their account and, if any losses are claimed, provide supporting


documentation quantifying and evidencing the loss. As I said in my papers in opposition to the


motion and at court, I am prepared to work with your clients so that its unrelated clients are not


prejudiced. If they wish to do this, please provide this information and contact me.


       Response to #9: Attached as Exhibit H are two such e-mail communications. Additionally,


the following clients of Berone Capital LLC have expressed the following concerns via telephone:


           •   Anthony W. transitioned from his role and would like to discuss restricted company


               stock that will be coming online soon and what our strategy moving forward will


               be. He also wants to add silver and gold positions to this IRA;


           •   Jamil E. who worked at VMWare(bought out by Broadcom) has left his role at


               VMWare with a substantial sized 40 1 (k) he will need to transition. We are running



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    Case 1:24-cv-00055-MAD-CFH Document 173-1 Filed 04/18/24 Page 42 of 84



               up against the deadline to transfer his assets to his account as we are at 45 days out


               of 60 days to complete this transfer;


           •   Trade E. (Nurse Practitioner) would like to discuss the lack of servicing for her


               IRA this quarter as she would like to increase her contributions in order to max out


               her IRA FY '24;


           •   Leonardo B. needs to discuss strategy on what to do with potential real estate


               windfall and his outstanding Credit Access Line and servicing.


           •   Ryan Y. S., is looking to add Bitcoin exposure utilizing some currently approved


               ETFs for his individual and IRA accounts. Also, he would like to discuss portfolio


               repositioning;


           •   Prospective client Richard P., a referral from Jamil E., has reached out looking for


               advice on 401k transition also;


       We have also lost opportunities to pursue clients that could have invested approximately


$34,000,000.00 as a result of this Receivership. The names of these potential clients, along with

their intended investment amount, are listed below, redacted as they are high-profile accredited


investors that value privacy:


           •   William R., musician, $5,000,000
           •   Jay W.J., musician, $5,000,000
           •   Stephen J., athlete, $2,000,000
           •   Josh P., athlete, $1,000,000
           •   U.R., musician, $5,000,000
           •   Y.B., music group, $1,000,000
           •   Todd G., athlete, $5,000,000
           •   N.C., musician, $3,000,000
           •   Sterling H., athlete, $5,000,000
           •   Chris FL, athlete, $2,000,000
           •   Total: $34,000,000




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     Case 1:24-cv-00055-MAD-CFH Document 173-1 Filed 04/18/24 Page 43 of 84



Request #10:     All records related to the Berone Defendants opening of any accounts for Prime


Capital Ventures, LLC.


       Response to #10:         See attached at Exhibit I.


Request #11:     All documents relating to the Berone Defendants' due diligence process for vetting


clients or investors, and all due diligence performed relating to Prime Capital Ventures, LLC or


Kris Roglieri.


       Response to #11:         Due diligence related to Prime Capital Ventures, LLC and Kris


Roglieri included but not limited to OFAC, corporate, individual and internet searches. See


attached at Exhibit J. Berone Capital Fund LP also relies on the representations made by Prime


Capital in our subscriptions agreement, including but not limited to the representation that the


source of funds for the investment is “earnings” (provided in response to #1 above). In addition,


Berone Capital LLC relies on representations in account applications that source of funds is


“operating income” (provided in response to #10 above).


Request #12:     Any records of compliance procedures, internal audits, or investigations related to


Prime Capital Ventures, LLC's accounts or transactions.


       Response to #12:         See attached at Exhibit K.


Request #13:     Detailed logs or records of all transactions conducted on behalf of Prime Capital


Ventures, LLC, including dates, amounts, counterparties, and any associated fees or charges.


       Response to #13:     The only transactions conducted on behalf of Prime Capital Ventures


are done in its entity account through Berone Capital LLC the Registered Investment Advisor. See


attached as Exhibit L. There are no transactions conducted on behalf of Prime Capital Ventures


through Berone Capital Fund LP. Berone Capital Fund LP is a registered Hedge Fund with the


SEC(Securities and Exchange Commission). Berone Capital Fund LP when in receipt of deposits



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    Case 1:24-cv-00055-MAD-CFH Document 173-1 Filed 04/18/24 Page 44 of 84



from subscribers, operates within its offering documents on behalf of Fund objectives and

mandates. Prime Capital Ventures LLC is a subscriber to the Berone Capital Fund LP which

provides Special Powers of Attorney to invest on behalf of the Fund objectives. Please see

offering documents for Berone Capital Fund LP (provided in response to request #1). There is also

another subscriber to Berone Capital Fund LP that is being damaged by the Receivership (P.

Holdings, referred to above in response to request #1).


Request #14:   Any risk assessments or evaluations conducted by the investment firm regarding

Prime Capital Ventures, LLC 's investment profile, risk tolerance, and suitability for certain

investment products or strategies.


       Response to #14:        Berone Capital Fund LP does not make investment allocations based

on individual risk profiles. An individual risk profile (i.e., for Berone Capital LLC clients) includes

target date to retirement, individual goals and objectives and whether an individual is aggressive,

moderate or conservative. Berone Capital Fund LP’s risk factors are included in our offering

document and attested to through our subscription agreement, which was already provided in


response to # 1 above (Exhibit A).


Request #15:   Electronic audit trails or logs documenting user activity and system access related

to Prime Capital Ventures, LLC's account.


        Response to #15:       RBC Capital Markets, not Berone, will have audit trails or logs


documenting user activity and system access related to Prime Capital Ventures, LLC’s account.


The Receiver already gained access to Prime’s only entity account at RBC Capital Markets. It is


recommended the Receiver reach out to RBC Capital Markets as they are the ones who create and


maintain the accounts, not Berone, and would have user activity and system access related to Prime


Capital Ventures LLC’s account.



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    Case 1:24-cv-00055-MAD-CFH Document 173-1 Filed 04/18/24 Page 45 of 84



Request #16:   Any agreements or arrangements between the Berone Defendants and third parties


(such as other financial institutions, advisors, or service providers) that may be relevant to Prime


Capital Ventures, LLC's accounts or transaction.


         Response to #16:        There are none.




Dated:          April 12, 2024


                                                                 Jeremiah Beguesse




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Case 1:24-cv-00055-MAD-CFH Document 173-1 Filed 04/18/24 Page 46 of 84




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                      EXHIBIT "D
                                Case 1:24-cv-00055-MAD-CFH Document 173-1 Filed 04/18/24 Page 47 of 84
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                                          Exhibit                                                Page 1 of 1

                                                                                                                                            Account number:
                                                                     ACCOUNT STATEMENT
                                                                     December 1, 2023 - December 26, 2023
                                                                                                                                                 Page 1 of 1


                  BERONE
                      CAPITAL


                                  BEROISK-GAPFFA-L-EIJND LP
                                                                     ACCOUNT VALUE SUMMARY
                                  Jjbi''l5eiicfit of :                                                                      THIS PERIOD           THIS YEAR

                                                                     Beginning account value                           $ 52,414,000.00
                                  Prime Capital Ventures, LLC        Deposits
                                                                                                                                   0.00

                                  66 South Pearl Street              Withdrawals                                                   0.00

                                  I Oth Floor                        Taxable income                                                0.00

                                  Albany NY         1 2207           Change in asset value                                    50,000.00
                                                                     Ending account value                              $ 52,364,000.00
                                  UNITED STATES
                                  Attn: Kris Roglieri
                                                                     Estimated annualized income
Partnership Account


                                                                    YOUR MESSAGE BOARD
Your Financial Advisor
Jeremiah Beguesse
                                                                    RBC Clearing & Custody is a division of RBC Capital Markets, LLC (RBC CM),
3595 Canton RD
Suite 312-223                                                       Member NYSE/ FINRAISIPC. RBC CM provides brokerage, back-office, and related
Marietta GA   30066                                                 services to investment advisors. RBC CM is the custodian ofyour brokerage account,
Telephone:                                                          and this statement is provided solely for that account.
E-mail:
                                                                    If you have any questions, please reach out to your financial advis&r
Case 1:24-cv-00055-MAD-CFH Document 173-1 Filed 04/18/24 Page 48 of 84




                      EXHIBIT "E"
                              Case 1:24-cv-00055-MAD-CFH Document 173-1 Filed 04/18/24 Page 49 of 84


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                                                                   NOVEMBER 1, 2022 - NOVEMBER 30, 2022                                                       Page 1 of 1 1



                 BERONE
                    CAPITAL




                         BERONE CAPITAL FUND LP         YDOCA      ACCOUNT VALUE SUMMARY
                                                        BC1                                                                       THIS PERIOD                    THIS YEAR
                         3595 CANTON RD / STE 312-223
                         MARIETTA GA   30066                       Beginning account value                                  $11,011,554.01                          $0.00
                                                                   Deposits                                                       441,303.00             21,441,303.00

                                                                   Withdrawals                                                -5,900,020.00             -15,914,799.45

                                                                   Taxable income                                                   11,001.56                   12,942.85

                                                                   Change in asset value                                             7,489.80                   31,881.97

                                                                   Ending account value                                      $5,571,328.37              $5,571,328.37


                                                                   Estimated annualized income                                                                $10,164.00
Partnership Account
                                                                   Please see "About Your Statement" on page 2 for farther information.



                                                                   YOUR MESSAGE BOARD
Your Financial Advisor
Jeremiah Beguesse
3595 Canton RD                                                     RBC Clearing & Custody is a division ofRBC Capital Markets, LLC (RBC CM),
Suite 312-223                                                     Member NYSE/FINRA/SIPC. RBC CM provides brokerage, back-office, and related
Marietta GA 30066                                                 services to investment advisors. RBC CM is the custodian ofyour brokerage account,
Telephone:
                                                                   and this statement is provided solely for that account.
E-mail:




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                                              Case 1:24-cv-00055-MAD-CFH Document 173-1 Filed 04/18/24 Page 50 of 84


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                                                                                                                                                                                                                                        Account number:
BERONE CAPITAL FUND LP
3595 CANTON RD / STE 312-223
                                                                                                                                                                                                                                                Page 2 of 1 1




GO PAPERLESS - Certain client documents arc available for electronic delivery by accessing your account online at               The prices for most securities and certain securities transactions reported on this statement are obtained from
www.RBCAdvisorConnect.com. Upon signing up for this service, you will choose which documents you do not want to                 independent quotation services whose appraisal(s) are based on closing prices, bid-ask quotations or other factors;
receive in the mail. You will then be notified by email when they are available for viewing and printing via the Internet.      however, in some cases, RBC calculates prices for certain securities using information from independent and internal
You may change your paperless elections at any time by going to the Suppress Mailings link on the website.                      sources. If you hold municipal revenue bonds, please be aware that the price you may receive on their sale may vary
                                                                                                                                significantly from the price shown on your statement Moreover, certain securities may have unique valuation
ABOUT YOUR ACCOUNT- This brokerage account statement is provided by RBC Capital Markets, LLC (RBC).                             requirements. Certain securities prices may not be current as of the statement date, and certain adjustments to your
RBC provides brokerage and custody services to you or to your advisor listed on this statement. RBC does not endorse            holdings may not yet have been included. If you purchase and/or hold securities traded in a market outside of the
or recommend any advisor or investment strategy for your account. The advisor, if listed, is responsible for all investment     United States, and/or denominated in a currency other than United States dollars, the price of those securities may be
advisor}' services for your account. RBC only provides brokerage and custody services related to this account and has           converted into United States dollars for inclusion on your statement The risks of adverse changes in the value of non-
no responsibility to monitor the suitability of any trading activity by an advisor. Inquiries concerning the positions and      United States currencies relative to tire United States dollar are borne by you; RBC does not hedge or otherwise mitigate
balances in your account may be directed to us at 6 12-371-7830. All other inquiries regarding your account or the activity     such risks. While we obtain pricing and currency conversion information from sources that we believe are reliable,
therein should be directed to your advisor. RBC may provide o tlier products and services to your advisor that are unrelated    RBC cannot guarantee the accuracy of the prices and currency conversion information that appear on your statement
to your account. The amount charged to the advisor by RBC for these additional products and services may be based in            You should always request a current valuation of your securities prior to making an investment decision or placing an
part on the amount of assets placed in RBC brokerage accounts, and therefore your advisor may have an incentive to              order to buy or sell securities. Note that securities that are not actively traded have not been priced and, therefore, are
recommend or require its clients to maintain brokerage accounts at RBC.                                                         excluded from the total shown in your summary.
Securities in your account are protected up to $500,000 (cash up to $250,000) by the Securities Investor Protection             RBC’s Dividend Reinvestment Program (DRIP) is available to holders of eligible securities. For more information on
Corporation (SIPC). RBC has purchased an additional policy covering up to $99.5 million perSIPC qualified account,              the program, please refer to the terms and conditions of your agreement with us in the Client Account Agreement and
subject to a total maximum aggregate for RBC of $400 million. This protection applies to the physical loss or destruction       the “Dividend Reinvestment Program Disclosure” which can be found at https://www.rbcclearingandcustody.com/en-
of your securities; itdocs not apply to any decline in the market value of your securities. Other investments shown on          us/legal/. If you have additional questions, please contact your Financial Advisor.
your statement but not held at RBC may not be protected by the SIPC or private insurance policies purchased by RBC.
Certain investments and transactions are ineligible under SIPC such as commodity futures contracts and currency, as well as     Non-priccd Securities - Securities that are not actively traded and for which no independent quotation-service pricing
investment contracts (such as limited partnerships), fixed annuity contracts that are not registered with the U.S. Securities   is readily available are excluded from the (i) Market Price, (ii) Market Value and (iii) Account Summary Total sections
and Exchange Commission under the Securities Act of 1933 and foreign currency transactions. For more details, please talk       of your statement In these instances, the Market Value and Total Account Summary sections of the statement will
to your advisor, contact SIPC for a brochure by calling 202-371-8300 orvisit www.sipc.org.                                      reflect a $0.00 value for these securities until such time that they begin active trading and/or have a readily available
                                                                                                                                independent quotation-service price. Accrued interest for non-priced (N/P) securities will be reflected on your
All securities that we hold for you that are not registered in your name ("street name" securities) are commingled with         statement where applicable. Examples of N/P securities may include, but are not limited to, auction rate securities,
identical securities being held for other clients. In the event that any such securities are "called" by the issuer, we will    auction rate preferred securities and certain structured products and over-the-counter equity securities.
determine which clients’ securities are redeemed using an impartial selection system, as required by Financial Industry
Regulatory Authority (FINRA) rules. RBC’s lottery procedures for callable securities may be found on our website at             If you have elected to receive interest on free credit balances maintained in your account, please be advised that under
https://www.rbcclearingandcustody.com/en-us/legal/ under “Partial Redemption of Callable Securities”. A printed copy            federal securities laws and the rules of FINRA, we are permitted to pay such interest only on balances arising as an
of these procedures may be requested from your Financial Advisor.                                                               incidence of securities trading activities. We may use a free credit balance in our account in the course of our business,
                                                                                                                                subject to limitations of 17CFR Section 240. 15c3-3 under the Securities Exchange Act of 1934. You may demand and
To report a lost orslolen VIS A Platinum® card, call 800-933-9946 or 877-486-3696. Questions regarding check activity,          receive from us during normal business hours the delivery of any free credit balances or fully-paid securities in your
money funds balances and VISA Platinum® card activity should be directed to Client Account Services at 800-933-                 account, and/or any securities purchased in your loan account upon full payment of any indebtedness to us. Any
9946.                                                                                                                           balance in the RBC Insured Deposits or shares in a money market fund in your account may be liquidated on your
A financial statement of this organization is available foryour personal inspection at its offices, ora copy of it will be      order and the proceeds returned to your account or remitted to you upon the full payment of any indebtedness to us.
mailed upon your written request.                                                                                               If this is an RBC Express Credit™ (margin) account and we maintain a special memorandum account for you, this is
If you have an option account, each of the transaction confirmations that we sent you itemizes the commissions that you         a combined statement of both your general account and the special memorandum account maintained for you under
have paid. Upon request, we will also furnish to you a statement of the total option commissions paid by you for this           Regulation T of the Federal Reserve system. The permanent record of the special memorandum account as required
calendar year.                                                                                                                  by Regulation T is available for your inspection at your request. RBC reserves the right to limit RBC Express Credit
                                                                                                                                (margin) purchases and short sales and to alter its margin requirements and due dates for house or other margin calls
For a schedule of fees charged by RBC, you may visit Advisor Connect through your advisor’s website or directly al              in accordance with the firm’s guidelines, market conditions and regulatory requirements.
www.rbcadvisorconnect.com where a list of fees is included in the section titled “other”. Please contact your advisor
with additional questions about the list of fees, or for help accessing Advisor Conned                                          The prices reported on your RBC statement for securities issued through or by a Direct Participation Program, Real
                                                                                                                                Estate Investment Trust, or private securities, including hedge funds are estimates. RBC does not calculate the prices
ABOUT YOUR STATEMENT - Statements are mailed monthly to clients who have transactions during the month that                     of these securities, and has not confirmed these prices or verified that they are determined correctly. Instead, RBC
affect money balances and/or security positions. Statements are mailed quarterly to all other clients provided that their       relies on independent quotation services or the management, trustee or general partner of the issuer of the securities to
account contains a money or security balance. Please review these statements carefully, and keep them foryour records.          provide such prices. The prices may be based on independent appraisals, the book value of the entity’s assets, the prices
If you note any discrepancies in your money balance, security positions, tax lots chosen for disposition, or                    paid or offered for the securities, or another method or basis (or a combination of any of these). These securities are
unauthorized activity in your account, please report this to us immediately in writing at RBC Clearing & Custody,               illiquid, and do not trade in a public market. Consequently, the estimated value of the securities (which is shown on
Attn: Client Service Team, 250 Nicollet Mall, Suite 1700, Minneapolis, MN 55401-1931 or at 612-371-7830. In                     your statement) may not equal the amounts) that you receive if you attempt to sell your investment. In some cases,
addition, you should reconfirm any oral communications with us in writing to further protect your rights, including             accurate valuation information relating to these securities may not be available. For current or estimated price
your rights under the Securities Investor Protection Act (SIPA).                                                                information on the estimated value of the securities, the source of the actual or estimated value of the securities, or the
Your statement is intended to provide only a summary of activity in your account(s) for the statement period. The               method by which the value was determined or estimated, please call 866-295-8555.
information provided on the statement includes, among other things, a snapshot of the value of your account(s), a               FINRA BrokerCheck Hotline - FINRA has made available to investors a pamphlet describing FINRA BrokerCheck
summary of Ore income you received for the statement and year-to-date periods, contributions to traditional, Roth or other      for your information. To obtain a copy of the brochure, please contact FINRA at 800-289-9999 or visit their website
Individual Retirement Accounts ), and transactions in mutual funds shares. The presentation of the value of your                at www.finra.org.
account(s) value, as well as changes in value, includes all deposits, withdrawals, and other changes in market value. Il
may also reflect a reduction in value as the result of the return of principal on certain fixed income securities. However,     Same Day Cash Sweep Redemptions - If your transaction has the description “Same Day”, the transaction you
changes in the value of unpriced securities, special products, or accrued interest are not reflected.                           requested required same day payment—RBC retained the last day’s dividend to offset the cost of advancing a same
                                                                                                                                day payment on your behalf. For more information see the “Cash Sweep Program Overview” on our public website at
If you have questions about your individual tax situation, please consult your tax advisor.                                     https://www.rbcclearingandcustody.com/en-us/legal/, as well as “Program Banks” under RBC Insured Deposits.
                                                                                                                                                                                                            RBCWM_PrimeCap_
                                    Case 1:24-cv-00055-MAD-CFH Document 173-1 Filed 04/18/24 Page 51 of 84


                                                                                                           9G600011
                                                                                                                                                                               Account number-
                                                                                                           ACCOUNT STATEMENT
                         I
                                                                                                           NOVEMBER 1, 2022 - NOVEMBER 30, 2022                                    Page 3 of 1 1


                    BE RONE
                       CAP ITAL




ASSET ALLOCATION SUMMARY                                                                                   ACTIVITY SUMMARY
                                                                                    CURRENT
                                                                                      VALUE      PERCENT   Total account value last statement                                  $11,011,554.01
                                   Cash & Cash Alternatives                $5,341 ,551 3?            96%                           Cash activity
                                   Equity                                       229,777.00           4%         Beginning balance                             10,841,209.01
                                   Current account value                   $5,571,328.37          100%          Money coming into your account
                                                                                                                    Deposits                                     441,303.00
                                                                                                                    Interest                                       7,577.99
                                                                                                                    Dividends                                      3,423.57
                                                                                                                    Total                                       452,304.56
                                                                                                                Money going out of your account
                                                                                                                    Funds to purchase securities                 -51,942.20
Mutual funds are included in the above categories. Funds that inuest in more than one category are
reported as "Mixed Assets. "
                                                                                                                    Cash withdrawals                          -5,900,000.00
The Cash & Cash Alternatives figure is net of debits including any RBC Express Credit (margin) debit,               Fees                                             -20.00
if applicable.
                                                                                                                    Total                                    -5,951,962.20
                                                                                                                Ending balance                                5,341,551.37
GAIN/LOSS SUMMARY
                                                                                                           Net change cash activity                                            -$5,499,657.64
                                                               THIS PERIOD                     THIS YEAR
                                                                                                                                  Change in security value
Total realized gain or loss                                            $0.00              $24,064.74
                                                                                                                Beginning value of priced securities            1 70,345.00
   Short-term gain or loss                                              0.00                  24,064.74
                                                                                                                    Securities purchased                          51,942.20
   Long-term gain or loss                                               0.00                       0.00
                                                                                                                    Change in value of priced securities           7,489.80
                                                                               AS OF NOVEMBER 30, 2022          Ending value of priced securities               229,777.00
   Unrealized gain or loss                                                                    $7,817.23    Net change in securities value                                          $59,432.00
Please see "About Your Statement" on page 2 for further information.                                       Total account value as of November 30, 2022                          $5,571,328.37




                                                                                                                                                             RBCWM_PrimeCap_
                                       Case 1:24-cv-00055-MAD-CFH Document 173-1 Filed 04/18/24 Page 52 of 84


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                                                                                                                                                                                                      Account number:
BERONE CAPITAL FUND LP                                                                                          ACCOUNT STATEMENT
3595 CANTON RD / STE 312-223                                                                                                                                                                                rage 4 ot 1 1
                                                                                                                NOVEMBER 1, 2022 - NOVEMBER 30, 2022




ASSET DETAIL
The Estimated Annualized Income ("EAI") for certain securities could include a return ofprincipal or capital gains, in which case EAI depicted on this account statement would be overstated. EAI is only an estimate of
income generated by the investment and the actual income may be higher or lower. In the event the investment matures, is sold or called, the full EAI may not be realized.

• The Unrealized Gain/Loss may not reflect your investments' total return. Specifically, the net cost may include dividend and capital gains distributions which have been reinvestedAdditionally, the information that
appears in these columns may be based on information provided by you or at your direction. RBC has not verified such data. Please see “About Your Statement" on page 2 for further information.

Your Financial Advisor has elected to display Asset Detail with the following options: asset purchases (tax lots) consolidated.

CASH & CASH ALTERNATIVES

RBC INSURED DEPOSITS
Deposits in the RBC Insured Deposits, with the exception of amounts classified as "Pending Deposits, " are held by the Program Banks, not RBC Clearing & Custody. They are not covered by SIPC. Balances classified
as "Pending Deposits" are scheduled to be deposited in the Program Banks on the business day following the statement date, and thus, these deposits are covered by SIPC until such time as they are deposited in the
Program Banks. Deposits are insured by the Federal Deposit Insurance Corporation (FDIC) p to $250,000 per depositor at each bank subject to certain limitations. This means that your funds in excess of
$250,000 in the same insurable capacity at any single Program Bank are not insured. FDIC insurance coverage amounts are subject to the combined total of all deposits at a specific Program Bank including
                                                                                                                                                                                                      current
deposits held by the Program Bank outside of this account. Please refer to the RBC Insured Deposits Disclosure Statement and our website at www.rbcadvisorconnect.com for more details, including the
aggregate FDIC deposit insurance amount available through the Program. For questions concerning bank balances, please contact your Financial Advisor.
                                                                                                             BANK                 CURRENT                    PREVIOUS STATEMENT
                                                                                                          BALANCE                 BALANCE                                BALANCE                                YTD INCOME
DESCRIPTION

                                                                                                                         $5,000,000.00                           55,000,000.00                                 $7,784.76
RBC INSURED DEPOSITS
NOT SIPC COVERED


DEPOSITS ARE HELD AT:
Associated Bank NA                          Green Bay, Wl                                          $249,000.00
Simmons Bank                                Pine Bluff, AR                                         $249,000.00

Truist Bank                                 Lumberton, NC                                          $249,000.00
Bank of Hope                                Los Angeles, CA                                        $167,743.59
Citibank NA                                 Sioux Falls, SD                                        $249,000.00

Tristate Capital Bank                       Pittsburgh, PA                                          $249,000.00
Axos Bank                                   San Diego, CA                                           $249,000.00

Enterprise Bank and Trust                   Clayton, MO                                             $249,000.00

East West Bank                              Pasadena, CA                                            $249,000.00
EagleBank                                   Bethesda, MD                                            $249,000.00

Bremer Bank NA                              St. Paul, MN                                            $249,000.00
Synovus Bank                                Columbus, CA                                            $101,256.41

Umpqua Bank                                 Portland, OR                                            $249,000.00
City National Bank                          Los Angeles, CA                                         $249,000.00

Manufacturers Bank                          LOS ANGELES, CA                                         $249,000.00

Israel Discount Bank of N                   New York, NY                                            $249,000.00
First Internet Bank of In                   Fishers, IN                                             $249,000.00

HSBC Bank USA NA                            Tysons, VA                                              $249,000.00

State Street Bank and Tru                   Boston, MA                                              $249,000.00
Bridgewater Bank                            Saint Louis Park, MN                                    $249,000.00




                                                                                                                                                                                RBCWM_PrimeCap
                                     Case 1:24-cv-00055-MAD-CFH Document 173-1 Filed 04/18/24 Page 53 of 84


                                                                                                           9G600011
                                                                                                                                                                                                   Account number:
                                                                                                           ACCOUNT STATEMENT
                                                                                                            NOVEMBER 1, 2022 - NOVEMBER 30, 2022                                                       page b ot 1 1




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CASH & CASH ALTERNATIVES
(continued)

RBC INSURED DEPOSITS
(continued)
Deposits in the RBC Insured. Deposits, with the exception of amounts classified as "Pending Deposits, ’ are held by the Program Banks, not RBC Clearing & Custody. They are not covered by SIPC. Balances classified
as "Pending Deposits" are scheduled to be deposited in the Program Banks on the business day following the statement date, and thus, these deposits are covered by SIPC until such time as they are deposited in the
Program Banks. Deposits are insured by the Federal Deposit Insurance Corporation (FDIC) p to $250,000 per depositor at each bank subject to certain limitations. This means that your funds in excess of
$250,000 in the same insurable capacity at any single Program Bank are not insured. FDIC insurance coverage amounts are subject to the combined total of all deposits at a specific Program Bank including
deposits held by the Program Bank outside of this account. Please refer to the RBC Insured Deposits Disclosure Statement and our website at www.rbcaduisorconnect.com for more details, including the current
aggregate FDIC deposit insurance amount available through the Program. For questions concerning bank balances, please contact your Financial Advisor.
                                                                                                        BANK               CURRENT                      PREVIOUS STATEMENT
                                                                                                     BALANCE               BALANCE                                 BALANCE                                YTD INCOME
DESCRIPTION

Sandy Spring Bank                         Olney, MD                                            $249,000.00

TOTAL RBC INSURED DEPOSITS                                                                                        $5,000,000.00                                                                          $7,784.76




US Cash & Cash Alternatives
                                                                                                      MARKET               CURRENT                      PREVIOUS STATEMENT
                                                         SYMBOL/CUSIP            QUANTITY               PRICE         MARKET VALUE                            MARKET VALUE                                YTD INCOME
DESCRIPTION

CASH                                                                                                                      $542.40

                                                                TUIXX       341,008.970               $1,000         $341,008.97                            $5,841,209.01                                  $4,040.69
US GOVT MONEY MARKET FUND
RBC INVESTOR CLASS

TOTAL US Cash & Cash Alternatives                                                                                    $341,551.37                                                                         $4,040.69



TOTAL CASH & CASH ALTERNATIVES                                                                                    $5,341,551.37



EQUITY

Emerging Markets Equity
                                                                                                      MARKET                MARKET                                                   UNREALIZED             ESTIMATED
                                                         SYMBOL/CUSIP            QUANTITY               PRICE                 VALUE                               net cost •         CAIN/LOSS *    ANNUALIZED INCOME
DESCRIPTION

                                                                 GRAB         10,000.000              $3,020           $30,200.00                               $28,400.00            $1,800.00
CRAB HOLDINGS LIMITED
CLASS A ORDINARY SHARES

TOTAL Emerging Markets Equity                                                                                         $30,200.00                              $28,400.00             $1,800.00




                                                                                                                                                                          RBCWM_PrimeCap_
                            Case 1:24-cv-00055-MAD-CFH Document 173-1 Filed 04/18/24 Page 54 of 84


                                                                      9G600011
                                                                                                                                        Account number:
BERONE CAPITAL FUND LP                                                ACCOUNT STATEMENT
3595 CANTON RD / STE 312-223                                                                                                                Page 6 of 1 1
                                                                       NOVEMBER 1, 2022 - NOVEMBER 30, 2022




EQUITY
(continued)

US Large Cap Equity
                                                                  MARKET           MARKET                                 UNREALIZED             ESTIMATED
                                                                    PRICE           VALUE                 NET COST *      CAIN/LOSS *    ANNUALIZED INCOME
DESCRIPTION                           SYMBOL/CUSIP    QUANTITY

                                                      500.000    $37,850       $18,925.00                $16,180.00        $2,745.00             $440.00
BANK OF AMERICA CORP                          BAC

                                             CLM     3,000.000    $8,440       $25,320.00                $23,544.30        $1,775.70           $4,422.00
CORNERSTONE STRATEGIC VALUE FD
COMMON SHARES
                                                      600.000    $68,520       $41,1 12.00               $34,293.00        $6,819.00            $3,102.00
DEVON ENERGY CORPORATION NEW                 DVN

                                                                               $85,357.00              $74,017.30       $1 1,339.70            $7,964.00
TOTAL US Large Cap Equity



US Mid Cap Equity
                                                                  MARKET           MARKET                                 UNREALIZED             ESTIMATED
                                                                    PRICE           VALUE                 NET COST *      CAIN/LOSS •    ANNUALIZED INCOME
DESCRIPTION                           SYMBOL/CUSIP    QUANTITY

                                            AKAM      500.000    $94.860       $47,430.00                $53,310.97      -$5,880.97
AKAMAI TECHNOLOGIES INC
                                                     1,000.000   $47,470       $47,470.00                $42,190.00        $5,280.00            $2,200.00
NEWMONT CORPORATION                          NEM
COMMON STOCK
                                                                               $94,900.00               $95,500.97        -$600.97             $2,200.00
TOTAL US Mid Cap Equity



US Small Cap Equity
                                                                  MARKET            MARKET                                UNREALIZED             ESTIMATED
                                                      QUANTITY      PRICE            VALUE                 NET COST •     CAIN/LOSS *    ANNUALIZED INCOME
DESCRIPTION                           SYMBOL/CUSIP

                                                     4,000.000    $4,830       $19,320.00                $24,041.50       -$4,721.50
SOFI TECHNOLOGIES INC                        SOFI
COMMON STOCK
                                                                               $19,320.00               $24,041.50       -$4,721.50
TOTAL US Small Cap Equity


                                                                             $229,777.00               $221,959.77        $7,817.23           $10,164.00
TOTAL EQUITY



                                                                            $5,571,328.37                                                     $10,164.00
TOTAL ASSETS




                                                                                                                   RBCWM_PrimeCap
                                      Case 1:24-cv-00055-MAD-CFH Document 173-1 Filed 04/18/24 Page 55 of 84


                                                                                                             9G600011
                                                                                                                                                                                             Account nnmhpr-
                                                                                                             ACCOUNT STATEMENT
                            i
                                                                                                             NOVEMBER 1, 2022 - NOVEMBER 30, 2022                                                Page 7 of 1 1




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ACTIVITY DETAIL
Realized gain/loss column includes fees and commissions. It does not include accrued interest.

Purchases, sales and other activity all represent an exchange ofcash and/or money marketfunds for securities and, as such, do not represent deposits to or withdrawals from your account.
Account value changes due to commissions, mark ups, mark downs and accrued interest are shown in the "Change in value of priced securities" line of the Account Value Summary.

• Information that appears in these columns may be based on information provided by you or at your direction; RBC has not verified such data.
 Please see "About Your Statement" on page 2 forfurther information.



PURCHASES


Regular Purchases
                                                                                                                          NET COST/
                                                                        QUANTITY                    PRICE         ACCRUED INTEREST                                               COMMENTS
DATE          DESCRIPTION

11/01/22      NEWMONT CORPORATION                                       1,000.000                $42,190              -$42,190.00
              COMMON STOCK
             WE MAKE A MKT IN THIS SECURITY

11/21/22      SOFI TECHNOLOGIES INC                                     2,000.000                 $4,876               -$9,752.20
              COMMON STOCK
             WE MAKE A MKT IN THIS SECURITY

Total regular purchases                                                                                      -$51,942.20


TOTAL PURCHASES                                                                                              -$51,942.20


DEPOSITS


Cash deposits


              DESCRIPTION                                                                                                                                             AMOUNT     COMMENTS
DATE

11/29/22      SIGNATURE BK NY                                                                                                                                  $441,303.00
              RECD FUNDS WIRED
TOTAL DEPOSITS                                                                                                                                         $441,303.00



WITHDRAWALS


Cash withdrawals

                                                                                                                                                                      AMOUNT     COMMENTS
DATE          DESCRIPTION

11/08/22      FUNDS WIRE TRANSFER                           SIGNATURE BANK                                                                                  -$5,900,000.00
              BERONE CAPITAL FUND LP                        BANK REFERENCE NUMBER:



                                                                                                                                                                           RBCWM_PrimeCap_
                                   Case 1:24-cv-00055-MAD-CFH Document 173-1 Filed 04/18/24 Page 56 of 84


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BERONE CAPITAL FUND LP                                                                                                                                                         Account numW
                                                                                     ACCOUNT STATEMENT
3595 CANTON RD / STE 312-223
                                                                                     NOVEMBER 1, 2022 - NOVEMBER 30, 2022                                                           Page 8 of 1 1




Fees


DATE        DESCRIPTION                                                                                                                                  AMOUNT   COMMENTS

11/08/22    WIRE FEE                                                                                                                                 -$20.00
TOTAL WITHDRAWALS                                                                                                                   -$5,900,020.00


ACTIVITY DETAIL

TAXABLE INCOME


Interest


DATE        DESCRIPTION                                                                                                       SYMBOL/CUSIP               AMOUNT   COMMENTS

11/28/22    RBC INSURED DEPOSITS                      MONTHLY INTEREST 10/26-11/27                                                                 $7,577.99
            APYE#: 01.88%                             INTEREST
            # APYE = Annual Percentage Yield Earned




Dividends


DATE        DESCRIPTION                                                                                                       SYMBOL/CUSIP               AMOUNT   COMMENTS

11/09/22    US GOVT MONEY MARKET FUND                 RBC INVESTOR CLASS                                                            TUIXX          52,881.17      2.45% AVERAGE MONTHLY YIELD
            ACCRUED DIV ON FULL LIQ                   DIVIDEND

11/30/22    CORNERSTONE STRATEGIC VALUE FD            COMMON SHARES                                                                  CLM             $542.40
            CASH DIV ON      3000 SHS                 REC 11/15/22 PAY 11/30/22
            DIVIDEND

Total dividends                                                                                                                              $3,423.57

TOTAL TAXABLE INCOME                                                                                                                     $1 1,001.56




                                                                                                                                                            RBCWM_PrimeCap_
                                      Case 1:24-cv-00055-MAD-CFH Document 173-1 Filed 04/18/24 Page 57 of 84


                                                                                                               9G600011
                             /                                                                                                                                                 Account number:
                                                                                                                ACCOUNT STATEMENT
                                                                                                                NOVEMBER 1, 2022 - NOVEMBER 30, 2022                               Hage y of 1 1




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MONTHLY TRANSACTION CONFIRMATION SUMMARY

As you requested., we are providing a summary of transaction, confirmations rather than printing and mailing transaction confirmations
separately. If you would like to receive separate transaction confirmations, please contact your Financial Advisor.



DATE                                                                   DESCRIPTION

Transaction   11/01/22                        Action BOUGHT            NEWMONT CORPORATION                                          Quantity     1000.000         Gross amount      $42,190.00
Processing    11/01/22              Account type CASH                 COMMON STOCK                                                       Price    $42,190       Accrued interest         $0.00
Settlement    11/03/22           Transaction type 61                  WE MAKE A MKT IN THIS SECURITY                  Mark up/down per share        $0.00           Commission           $0.00
                                                                                                                            Sales charge rate                       Net amount      $42,190.00
                                          Symbol NEM
                                              CUSIP

Transaction   11/21/22                        Action BOUGHT           SOFI TECHNOLOGIES INC                                         Quantity     2000.000         Gross amount       $9,752.20
Processing    11/21/22              Account type CASH                 COMMON STOCK                                                       Price     $4,876       Accrued interest         $0.00
Settlement    11/23/22           Transaction type 61                  WE MAKE A MKT IN THIS SECURITY                  Mark up/down per share        $0.00           Commission           $0.00
                                          Symbol SOFI                                                                       Sales charge rate                       Net amount       $9,752.20

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                                                      Case 1:24-cv-00055-MAD-CFH Document 173-1 Filed 04/18/24 Page 58 of 84


                                                                                                                                                9G600011
BERONE CAPITAL FUND LP                                                                                                                          ACCOUNT STATEMENT                                                                                                Account number:

3595 CANTON RD / STE 312-223
                                                                                                                                                NOVEMBER 1, 2022 - NOVEMBER 30, 2022                                                                                  rage 1U oi 11




Conditions                                                                                                                                        Transaction Type (first digit defines Market and second digit defines Capacity)
    •    RBC Capital Markets, LLC (RBC) Member NYSE/FINRA/SIPC, is an indirect, wholly owned subsidiary of Royal Bank of Canada.                  Market
    • This transaction is subject to the rules, regulations, practices and customs of the exchange and its clearinghouse, if any, where the      1      New York Stock Exchange
         transaction was executed, or of the Financial Industry Regulatory Authority if not executed on an exchange. This transaction may        2      NYSE Alternext/NYSE AMEX Options
         have incurred other fees which may include handling fees or transaction fees paid to an exchange. A complete breakdown of fees          3      Market/Exchange of execution available upon request
        associated with this transaction will be provided upon your written request.                                                             4      Mutual Funds
    • We will also provide upon written request the date and time when this transaction took place and the name of the other party to the        5      CBOE Options or Canadian Stock Exchange

        transaction.                                                                                                                             6      Over the Counter
                                                                                                                                                 7      Syndicate
    • Any order for your account(s) may be aggregated with orders for the account(s) of other clients and executed as one order. As a
                                                                                                                                                 8      Foreign Stock Exchanges
      result, you may receive a price or average price that is different than the price or average price that you would have received had
                                                                                                                                                 9      NASDAQ/NASDAQ Options Market
        your order not been aggregated. In addition, aggregation of your order with orders of other clients may result in your order being
                                                                                                                                                 A      Chicago Stock Exchange
        only partially completed.
                                                                                                                                                 B      National Stock Exchange
 •      RBC has established electronic connectivity with certain exchanges, broker-dealers and/or other market centers (collectively,            C      NASDAQ OMX BX/Boston Options Exchange
        "market centers") for the purpose of routing orders in equity securities and options for executions. These connections have been         D      International Securities Exchange
        entered into based upon the execution quality provided by these market centers, evaluated on the basis of price improvement              E      ARCA/Pacific Stock Exchange
        performance, liquidity enhancement, and speed of execution. For options orders, RBC receives payment in the form of rebates              F      NASDAQ OMX PHLX Stock Exchange
        and credits including credits that exceed the amount we are charged in return for routing client orders. Any remuneration that RBC       O      Other Exchange
        receives for directing orders to any market center will not accrue to your account. RBC contracts with a third-party vendor, S3
        Matching Technologies, LP, to receive execution metrics to meet its best execution requirement under FINRA rules. RBC has                Capacity in which we are acting
        arranged for its market centers to remit payment for a portion of this service based on previous years' volumes routed to each           1-5   As agent
        destination. RBC may execute the order itself or with other market centers. The source and nature of the compensation received           6     We have acted as agent for both buyer and seller; source and amount of our commissions or other remunerations in
        by RBC in connection with the transaction described on this confirmation will be provided upon your written request. For                       this trade will be provided on written request.
        information with respect to RBC C&C’s handling of customer orders see "SEC Oder Handling Disclosures" at                                 7     We, as principal, have sold to you or bought from you and may have received a profit from the transaction.
        www.rbcclearingandcustody.com/en-us/legal/. Should you desire a written copy of this information, contact your financial advisor.        8     Special: No commission is being charged to you. We are being paid a commission by the other party to this
 •      If this transaction Involves when-issued securities, payment therefor and delivery thereof shall be made In accordance with the                transaction. Details available on written request.
                                                                                                                                                 9     As specialist, we are a specialist in this security and we are acting for our own account in this transaction.
        terms of a subsequent confirmation to be delivered on the date the securities are issued.
 •      Complete information about call features will be provided upon request. In the case of debt securities, call features may exist          If the letter "P" appears in the transaction type box, postage and handling fees have been charged and are included in the
        which could affect yield. The actual yield of an asset-backed security (securities which represent an interest in or are secured by      Commission/Handling amount.
        a pool or receivables or other financial assets that are subject to continuous payment) may vary according to the rate at which the
        underlying assets are prepaid. Additional information concerning the factors that affect yield will be provided upon written request.    Credit Ratings - by Moody’s/Standard & Poor’s (Ratings are either short-term or long-term, depending on the duration
 • If this is an averaged price transaction, details regarding the actual prices are available upon request.                                     of the note.)
 •      Payment for securities purchased and delivery of securities sold are due promptly on the settlement date. Until payment is made          Non-Rated
        by you, securities purchases by you or held by us for your account are or may be hypothecated and commingled with securities             NR                              Not being rated by the rating agencies does not necessarily reflect credit-worthiness
        carried for other clients. If payment or delivery is not made by the settlement date, we reserve the right without further notice to     Withdrawn Rating
        charge interest on the amount due shown on the face hereof, at our current rate on client general accounts, or to sell securities        WR                              Formerly rated by Moody's but withdrawn for either business or credit concerns.
        purchased and hold you liable for any loss thereby incurred, or to cancel this transaction.
                                                                                                                                                 Issue Rating
 • This confirmation shall be deemed to be correct unless written notice of correction is immediately delivered to us.
                                                                                                                                                                                 The optimal rating available on a note, including all insurance and enhancement programs.
• Unless you indicate non-consent in writing, this agreement shall inure to and be binding upon RBC’s successors and assigns, and
        your administrators, legal representatives and assigns.                                                                                  Underlying Rating
                                                                                                                                                                                 The rating on the note solely based on the issuer’s payment ability exclusive of insurance
• You may be eligible for breakpoint discounts based on the size of your purchase, current holdings, or future purchases. The sales
                                                                                                                                                                                 and enhancement programs.
  charge you paid may differ slightly from the prospectus-disclosed rate due to rounding calculations. Please refer to the Prospectus
        or Statement of Additional Information, or contact your Financial Advisor for further information.                                       Investment Grade
• Auction Rate Securities: See "Auction Rate Procedures* on our public website at rbcwm.com/disclosures fora written description                 Aaa/AAA                         Highest possible rating; optimal ability to pay principal and interest until maturity.
  of our material auction practices and procedures. Please contact your Financial Advisor to request that a copy be mailed to you.
                                                                                                                                                 Aa3 to Aa1/AA- to AA+           High quality; excellent ability to pay principal and interest until maturity.
• Variable Rate Demand Bonds/Notes/Obligations: See “Variable Rate Demand Notice" on our public website at
        rbcwm.com/disclosures fora notice regarding the risk considerations relating to the Remarketing Agent's role and duties. Please          A3 to A1/A- to A+               Good ability to pay principal and interest until maturity
  contact your Financial Advisor to request that a copy be mailed to you.
                                                                                                                                                 Baa3 to Baa1/BBB- to BBB+       Adequate ability to pay principal and interest until maturity.
• This transaction may be subject to the "U.S. Treasury Securities Fails Charge Trading Practice" and the "Agency Debt and Agency
        Mortgage-Backed Securities Fails Charge Trading Practice," published by the Treasury Market Practices Group and the Securities           Non -Investment Grade
        Industry and Financial Markets Association and available at www.sifma.org/resources/general/fails-charge-trading-practices/              Ba3 to Ba1/BB- to BB+           Speculative; marginal ability to pay principal and interest until maturity.
•       Investments and transactions that are ineligible for SIPC protection are commodity futures contracts and currency, as well as
                                                                                                                                                 Ba to B3/B- to B+               Highly speculative; very questionable ability to pay principal and interest until maturity.
        investment contracts (such as limited partnerships), fixed annuity contracts that are not registered with the U.S. Securities and
        Exchange Commission under the Securities Act of 1 933 and foreign currency transactions.                                                 C to Caa1/D to CCC+             Either high risk of default or currently in default.
•       For a buy, any mark-up is calculated as the price you paid for the security in this transaction minus the prevailing market price of
                                                                                                                                                 Additional information regarding the risks associated with "Below Investment Grade" bonds is available upon request.
        the security at the time you bought it. Fora sell, any mark-down is calculated as the prevailing market price of the security at the
        time you sold it minus the amount you received in this transaction.                                                                      # - Issue secured by escrowed funds held in trust which are reinvested in direct, non-callable U.S. Government obligations or
                                                                                                                                                 non-callable obligations unconditionally guaranteed by the U.S. Government or Resolution Funding Corporation.
PLEASE RETAIN THIS CONFIRMATION FOR INCOME TAX PURPOSES.



                                                                                                                                                                                                                                 RBCWM_PrimeCap_
                                       Case 1:24-cv-00055-MAD-CFH Document 173-1 Filed 04/18/24 Page 59 of 84


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                                                                                                                                                                                                       Account number:
                                   p                                                                            ACCOUNT STATEMENT
                                                                                                                NOVEMBER 1, 2022 - NOVEMBER 30, 2022                                                       Eage 1 1 of 1 1



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CASH SWEEP PROGRAM DETAIL
* Transaction, details are only provided for cash sweep programs that sweep funds into bank deposit accounts. Please refer to the Asset Detail section of this statement for more information.


RBC INSURED DEPOSITS
NOT SIPC COVERED

                                                                                           AMOUNT        DATE               DESCRIPTION                                                              AMOUNT
DATE            DESCRIPTION

                BALANCE FORWARD                                                    $5,000,000.00          11/08/22          WITHDRAWAL                                                           -101,000.99
11/01/22

                DEPOSIT                                                                   2,881.17        11/23/22          WITHDRAWAL                                                             -9,752.20
11/10/22

                INTEREST REINVEST                                                         7,577.99        11/30/22          DEPOSIT                                                               441,303.00
11/28/22

11/30/22        WITHDRAWAL                                                            -341,008.97         11/30/22          ENDING BALANCE                                                   $5,000,000.00



INCOME FROM NOVEMBER 1, 2022 - NOVEMBER 30, 2022: $7,577.99


MONEY MARKET DETAIL
* Transaction details are only provided for money market funds that are set up for automated sweep.


US GOVT MONEY MARKET FUND
RBC INVESTOR CLASS

               BALANCE FORWARD                                                     $5,841,209.01          11/03/22          REDEMPTION                                                            -42,190.00
11/01/22

               SAME DAY; SEE DISCLOSURE PC2                                        -5,799,019.01          11/30/22          PURCHASE                                                              341,008.97
11/08/22

11/30/22       ENDING BALANCE                                                         $341,008.97



INCOME FROM NOVEMBER 1, 2022 - NOVEMBER 30, 2022: $2,881 .1 7




                                                                                                                                                                                RBCWM_PrimeCap_
Case 1:24-cv-00055-MAD-CFH Document 173-1 Filed 04/18/24 Page 60 of 84




                       EXHIBIT "F"
                 Case 1:24-cv-00055-MAD-CFH Document 173-1 Filed 04/18/24 Page 61 of 84

                         Paul Levine Receiver for Prime Capital Ventures LLC
                                                         Balance Sheet
                                                      As of February 29, 2024



                                                                                                         TOTAL


ASSETS
 Current Assets

 Bank Accounts
                                                                                                           0.00
  1000 Prime Capital Ventures Checking- 6607
                                                                                                   1,604,767.80
  1005 Prime Capital Ventures Savings- 5959
                                                                                                  $1,604,767.80
 Total Bank Accounts

  Accounts Receivable
   1 025 Loan Receivable
                                                                                                   2,100,000.00
    1025.1 135 Railroad LLC
                                                                                                   17,366,250.00
    1 025.2 Bradley Apartments
                                                                                                    7,875,000.00
    1025.3 Brightsmith Tulsa LLP
                                                                                                    5,250,000.00
    1025.4 Hudson & Hudson LLC
                                                                                                  32,591,250.00
   Total 1025 Loan Receivable
                                                                                                  $32,591,250.00
  Total Accounts Receivable

  Other Current Assets
   1030 Prepaid Expense
                                                                                                    6,275,000.00
    1030.1 Prepaid Interest
                                                                                                    6,275,000.00
   Total 1 030 Prepaid Expense
                                                                                                   $6,275,000.00
  Total Other Current Assets
                                                                                                  $40,471,017.80
  Total Current Assets

  Fixed Assets
   1045 Assets Held By Receiver
                                                                                                    3,750,000.00
    1045.1 Virginia Beach House
                                                                                                    2,275,000.00
    1045.2 Russ Milliear Skull Watch
                                                                                                    6,025,000.00
   Total 1045 Assets Held By Receiver
                                                                                                   $6,025,000.00
  Total Fixed Assets
                                                                                                  $46,496,017.80
 TOTAL ASSETS

 LIABILITIES AND EQUITY
   Liabilities
   Long-Term Liabilities
                                                                                                     1,385,000.00
    2020 Deferred Lender Fees
                                                                                                     6,275,000.00
     2025 Deferred Interest Income
                                                                                                    $7,660,000.00
    Total Long-Term Liabilities
                                                                                                    $7,660,000.00
   Total Liabilities

   Equity
    3000 Retained Earnings
                                                                                                    38,834,232.64
    3005 Opening Balance Equity
                                                                                                          1,785.16
    Net Income
                                                                                                   $38,836,017.80
   Total Equity
                                                                                                   $46,496,017.80
  TOTAL LIABILITIES AND EQUITY




                                                                                                                  1/1
                                        Accrual Basis Tuesday, April 9, 2024 03:15 PM GMT-04:00
Case 1:24-cv-00055-MAD-CFH Document 173-1 Filed 04/18/24 Page 62 of 84




                                            II
                      EXHIBIT "G
               Case 1:24-cv-00055-MAD-CFH Document 173-1 Filed 04/18/24 Page 63 of 84

                        Paul Levine Receiver for Prime Capital Ventures LLC
                                                         Balance Sheet
                                                       As of March 31, 2024



                                                                                                       TOTAL

ASSETS
 Current Assets
 Bank Accounts
                                                                                                          0.00
  1000 Prime Capital Ventures Checking- 6607
                                                                                                  1,423,376.30
  1005 Prime Capital Ventures Savings- 5959
                                                                                                $1,423,376.30
 Total Bank Accounts

 Accounts Receivable
  1025 Loan Receivable
                                                                                                  2,100,000.00
   1025.1 135 Railroad LLC
                                                                                                 17,366,250.00
   1025.2 Bradley Apartments
                                                                                                  7,875,000.00
   1025.3 Brightsmith Tulsa LLP
                                                                                                  5,250,000.00
   1025.4 Hudson & Hudson LLC
                                                                                                32,591 ,250.00
  Total 1025 Loan Receivable
                                                                                                $32,591,250.00
  Total Accounts Receivable

  Other Current Assets

   1030 Prepaid Expense
                                                                                                  6,275,000.00
   1030.1 Prepaid Interest
                                                                                                      7,272.60
   1030.2 Prepaid Insurance
                                                                                                  6,282,272.60
  Total 1030 Prepaid Expense
                                                                                                 $6,282,272.60
  Total Other Current Assets
                                                                                                $40,296,898.90
 Total Current Assets

 Fixed Assets

  1045 Assets Held By Receiver
                                                                                                  3,750,000.00
   1045.1 Virginia Beach House
                                                                                                  2,275,000.00
   1045.2 Russ Milliear Skull Watch
                                                                                                  6,025,000.00
  Total 1045 Assets Held By Receiver
                                                                                                 $6,025,000.00
 Total Fixed Assets
                                                                                                $46,321,898.90
TOTAL ASSETS

LIABILITIES AND EQUITY
 Liabilities
  Current Liabilities
   Accounts Payable
                                                                                                     39,591.38
    2000 Accounts Payable
                                                                                                    $39,591.38
   Total Accounts Payable

  Total Current Liabilities                                                                         $39,591.38

  Long-Term Liabilities
                                                                                                   1,385,000.00
   2020 Deferred Lender Fees
                                                                                                   6,275,000.00
   2025 Deferred Interest Income

  Total Long-Term Liabilities                                                                    $7,660,000.00

                                                                                                  $7,699,591.38
  Total Liabilities




                                                                                                            1/2
                                      Accrual Basis Tuesday, April 9, 2024 03:18 PM GMT-04:00
                Case 1:24-cv-00055-MAD-CFH Document 173-1 Filed 04/18/24 Page 64 of 84

                    Paul Levine Receiver for Prime Capital Ventures LLC
                                                  Balance Sheet
                                                As of March 31, 2024



                                                                                                 TOTAL

 Equity
 3000 Retained Earnings
                                                                                          38,834,626.08
 3005 Opening Balance Equity
                                                                                            -212,318.56
 Net Income
                                                                                         $38,622,307.52
 Total Equity
                                                                                         $46,321 ,898.90
TOTAL LIABILITIES AND EQUITY




                                                                                                      2/2
                               Accrual Basis Tuesday, April 9, 2024 03:18 PM GMT-04:00
Case 1:24-cv-00055-MAD-CFH Document 173-1 Filed 04/18/24 Page 65 of 84




                      EXHIBIT "H"
               Case 1:24-cv-00055-MAD-CFH Document 173-1 Filed 04/18/24 Page 66 of 84

                        Paul Levine Receiver for Prime Capital Ventures LLC
                                                   Profit and Loss
                                                     February 2024




                                                                                            TOTAL

Income

Total Income

Expenses

Total Expenses

NET OPERATING INCOME                                                                          $0.00

Other Income

 7005 Interest Income                                                                      1,785.16

Total Other Income                                                                        $1,785.16

NET OTHER INCOME                                                                          $1,785.16

NET INCOME                                                                                $1,785.16




                              Accrual Basis Thursday, March 28, 2024 12:05 PM GMT-04:00         1/1
Case 1:24-cv-00055-MAD-CFH Document 173-1 Filed 04/18/24 Page 67 of 84




                       EXHIBIT "I"
               Case 1:24-cv-00055-MAD-CFH Document 173-1 Filed 04/18/24 Page 68 of 84

                        Paul Levine Receiver for Prime Capital Ventures LLC
                                                      Profit and Loss
                                                         March 2024



                                                                                                  TOTAL

Income

Total Income

Expenses
 6000 Legal Fees                                                                              169,115.01

 6005 Accounting Fees                                                                            9,833.75

 6035 Insurance Expense                                                                          1 ,454.52

 6055 Trustee Professional Fees & Expenses                                                     39,591.38

Total Expenses                                                                               $219,994 66

NET OPERATING INCOME                                                                        $-21 9,994.66

Other Income

 7005 Interest Income                                                                            5,890.94

Total Other Income                                                                             $5,890.94

NET OTHER INCOME                                                                               $5,890.94

NET INCOME                                                                                  $-21 4,1 03.72




                                                                                                       1/1
                                  Accrual Basis Tuesday, April 9, 2024 03:18 PM GMT-04:00
Case 1:24-cv-00055-MAD-CFH Document 173-1 Filed 04/18/24 Page 69 of 84




                      EXHIBIT "J"
                                       Case 1:24-cv-00055-MAD-CFH Document 173-1 Filed 04/18/24 Page 70 of 84


                                                                              Paul Levine Receiver for Prime Capital Ventures LLC
                                                                                              Transaction Detail by Account
                                                                                                                   February 2024


                                                                   Transaction
                                                         Date          Type                   Name                                                           Memo/Description                                                Amount          Balance

1000 Prime Capital Ventures Checking- 6607

                                                       02/01/2024 Deposit        Farmers State Bank of Alto Pass    Incoming Wire Deposit from Prime Capital Ventures LLC- Coming from Farmers State Bank of Alto Pass         29,607.82      29,607.82

                                                       02/07/2024 Deposit        RBC Capital Markets                Incoming wire deposit from Prime Capital Ventures LLC from RBC Capital Markets                           1,248,369.84   1,277,977.66

                                                       02/23/2024 Transfer                                          Transfer from Checking acct to Savings                                                               -1,277,977.66              0.00

                                                                                                                                                                                                                         $           0.00
Total for 1000 Prime Capital Ventures Checking- 6607



1005 Prime Capital Ventures Savings- 5959

                                                       02/13/2024 Deposit        Interactive Brokers LLC            Incoming wire deposit from Prime Capital Ventures LLC from Interactive Brokers LLC                        325,004.98     325,004.98


                                                       02/23/2024 Transfer                                          Transfer from Checking acct to Savings                                                                1,277,977.66      1,602,982.64


                                                       02/29/2024 Deposit                                           Interest Earned                                                                                              1,785.16   1.604,767.80

                                                                                                                                                                                                                         $1,604,767.80
Total for 1005 Prime Capital Ventures Savings- 5959
Case 1:24-cv-00055-MAD-CFH Document 173-1 Filed 04/18/24 Page 71 of 84




                      EXHIBIT "K"
                                        Case 1:24-cv-00055-MAD-CFH Document 173-1 Filed 04/18/24 Page 72 of 84



                                                                                Paul Levine Receiver for Prime Capital Ventures LLC
                                                                                                    Transaction Detail by Account
                                                                                                                         March 2024


                                                        Date      Transaction Type        Num              Name                                      Memo/Description                                            Split              Amount         Balance

1005 Prime Capital Ventures Savings- 5959

                                                      03/12/2024 Deposit                           CHIPS                 Incoming CHIPS funds transfer Prime Capital Ventures LLC                     3005 Opening Balance Equity        393.44        393.44

                                                      03/21/2024 Bill Payment (Check)   ACH        Lemery Greisler LLC                                                                                2000 Accounts Payable          -177,842.13   -177,448.69

                                                      03/21/2024 Bill Payment (Check)   ACH        BST & Co, CPAs                                                                                     2000 Accounts Payable            -9,833.75   -187,282.44

                                                      03/21/2024 Deposit                           Lemery Greisler LLC Deposit back in Savings account- Payment failed and was sent back to account   6000 Legal Fees                177,842.13      -9,440.31

                                                      03/21/2024 Check                  ACH        Lemery Greisler LLC Payment to Lemery Greisler- M&T Bank Error- payments will be returned          6000 Legal Fees                -177,842.13   -187,282.44

                                                      03/31/2024 Deposit                INTEREST                         Interest Earned                                                              7005 Interest Income              5,890.94   -181,391.50

Total for 1005 Prime Capital Ventures Savings- 5959                                                                                                                                                                                 -$181,391.50
Case 1:24-cv-00055-MAD-CFH Document 173-1 Filed 04/18/24 Page 73 of 84




                      EXHIBIT "L"
                Case 1:24-cv-00055-MAD-CFH Document 173-1 Filed 04/18/24 Page 74 of 84

                         Paul Levine Receiver for Berone Capital Fund LP
                                                    Balance Sheet
                                                 As of February 29, 2024



                                                                                                TOTAL

ASSETS

 Current Assets

  Bank Accounts

  1 005 M&T Bank- Savings acct# 3204                                                        132,901.16

 Total Bank Accounts                                                                       $132,901.16

 Total Current Assets                                                                      $132,901.16

TOTAL ASSETS                                                                               $132,901.16

LIABILITIES AND EQUITY
 Liabilities

 Total Liabilities

 Equity

 3005 Opening Balance Equity                                                                132,621.17

  Retained Earnings

  Net Income                                                                                    279.99

 Total Equity                                                                              $132,901.16

TOTAL LIABILITIES AND EQUITY                                                               $132,901.16




                               Accrual Basis Thursday, March 28, 2024 12:01 PM GMT-04:00           1/1
Case 1:24-cv-00055-MAD-CFH Document 173-1 Filed 04/18/24 Page 75 of 84




                      EXHIBIT "M"
                Case 1:24-cv-00055-MAD-CFH Document 173-1 Filed 04/18/24 Page 76 of 84

                        Paul Levine Receiver for Berone Capital Fund LP
                                                    Balance Sheet
                                                  As of March 31, 2024



                                                                                                TOTAL


ASSETS
 Current Assets

 Bank Accounts
                                                                                             133,510.27
  1005 M&T Bank- Savings acct# 3204
                                                                                            $133,510.27
 Total Bank Accounts
                                                                                            $133,510.27
 Total Current Assets
                                                                                            $133,510.27
TOTAL ASSETS

LIABILITIES AND EQUITY
 Liabilities

 Total Liabilities

 Equity
                                                                                             132,721.15
  3005 Opening Balance Equity

  Retained Earnings
                                                                                                 789.12
  Net Income
                                                                                            $133,510.27
 Total Equity
                                                                                            $133,510.27
TOTAL LIABILITIES AND EQUITY




                                                                                                      1/1
                                Accrual Basis Wednesday, April 3, 2024 10:47 AM GMT-04:00
Case 1:24-cv-00055-MAD-CFH Document 173-1 Filed 04/18/24 Page 77 of 84




                      EXHIBIT "N"
                 Case 1:24-cv-00055-MAD-CFH Document 173-1 Filed 04/18/24 Page 78 of 84

                        Paul Levine Receiver for Berone Capital Fund LP
                                                  Profit and Loss
                                                   February 2024




                                                                                           TOTAL

Income
Total Income

Expenses
Total Expenses

NET OPERATING INCOME                                                                        $0.00

Other Income

 7005 Interest Income                                                                      279.99

Total Other Income                                                                        $279.99

NET OTHER INCOME                                                                          $279.99

NET INCOME                                                                                $279.99




                                                                                               1/1
                             Accrual Basis Thursday, March 28, 2024 12:01 PM GMT-04:00
Case 1:24-cv-00055-MAD-CFH Document 173-1 Filed 04/18/24 Page 79 of 84




                                             I
                      EXHIBIT "O
               Case 1:24-cv-00055-MAD-CFH Document 173-1 Filed 04/18/24 Page 80 of 84

                        Paul Levine Receiver for Berone Capital Fund LP
                                                Profit and Loss
                                                   March 2024



                                                                                         TOTAL


Income

Total Income

Expenses

Total Expenses
                                                                                           $0.00
NET OPERATING INCOME

Other Income
                                                                                          509.13
 7005 Interest Income
                                                                                         $509.13
Total Other Income
                                                                                         $509.13
NET OTHER INCOME
                                                                                         $509.13
NET INCOME




                                                                                               1/1
                             Accrual Basis Wednesday, April 3, 2024 10:48 AM GMT-04:00
Case 1:24-cv-00055-MAD-CFH Document 173-1 Filed 04/18/24 Page 81 of 84




                      EXHIBIT "P"
                               Case 1:24-cv-00055-MAD-CFH Document 173-1 Filed 04/18/24 Page 82 of 84



                                                            Paul Levine Receiver for Berone Capital Fund LP
                                                                            Transaction Detail by Account
                                                                                               February 2024


                                                         Transact!
                                                                             Name                                               Memo/Description                                         Amount        Balance
                                                Date      on Type

1005 M&T Bank- Savings acct# 3204
                                                                                             Branch deposit to close prior Berone account at TD Bank (3 checks included in deposit)        14,285.27    14,285.27
                                              02/09/2024 Deposit     TD Bank

                                                                                                                                                                                              331.00    14,616.27
                                              02/13/2024 Deposit     Interactive Brokers LLC Incoming wire deposit from Berone Capital Partners LLC for 331.00 fom Interactive Brokers
                                                                                                                                                                                          118,004.90   132,621.17
                                              02/13/2024 Deposit     Interactive Brokers LLC Incoming wire deposit from Bereone Capital Partners LLC for $1 1 8,004.90

                                                                                             Interest Earned                                                                                  279.99   132,901.16
                                              02/29/2024 Deposit
                                                                                                                                                                                         5132,901.16
Total for 1005 M&T Bank- Savings acct# 3204
Case 1:24-cv-00055-MAD-CFH Document 173-1 Filed 04/18/24 Page 83 of 84




                      EXHIBIT "Q"
                            Case 1:24-cv-00055-MAD-CFH Document 173-1 Filed 04/18/24 Page 84 of 84


                                                 Paul Levine Receiver for Berone Capital Fund LP
                                                                   Transaction Detail by Account
                                                                                   March 2024



                                                          Transaction
                                                Date         Type                           Memo/Description                                      Split             Amount Balance

1005 M&T Bank- Savings acct# 3204

                                              03/12/2024 Deposit        Incoming Fedwire Funds Transfer Berone Capital Partners LLC   3005 Opening Balance Equity      99.98    99.98

                                              03/29/2024 Deposit        Interest Earned                                               7005 Interest Income            509.13   609.11

Total for 1005 M&T Bank- Savings acct# 3204                                                                                                                          $609.11
